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LAW OFFICES

CAREY, SCOTT, DOUGLAS & KESSLER, PLLC

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CHARLESTON, WV 25323

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ROBERT E. DOUGLAS TELEPHONE (304) 342-1111
JOHN A. KESSLER FACSIMILE (304) 342-1105
S. BENJAMIN BRYANT
Davin R. POGUE

April 17, 2020
VIA EMAIL ONLY
klbowling@wvumedicine.or
Karen Bowling
Summersville Regional Medical Center
400 Fairview Heights Road
Summersville, WV 26651

Re: The City of Huntington, et al. v. AmerisourceBergen Drug Corporation, et al.
Civil Action No(s). 3:17-01362 and 3:17-01665

Dear Ms. Bowling,

Thank you for accepting service of the enclosed subpoena. We look forward to working
cooperatively on this matter. We are aware of the difficulties posed by the current COVID-19
pandemic, and recognize it may impact subpoena compliance and scheduling, but cannot defer
serving this subpoena due to upcoming Court-imposed deadlines. We will do our best to
accommodate reasonable requests, mindful of our obligations under the existing case schedule.

In this regard, please note that while the enclosed subpoena requires both the production of
documents and attendance at a deposition, the deposition date in the subpoena is a suggested date.
We are willing to reschedule the deposition for a mutually acceptable alternative date that is earlier
or later, subject to two limiting factors: (1) we cannot take the deposition until after the requested
documents have been produced (which we understand may be delayed by the COVID-19 pandemic);
and (2) due to the Court-imposed June 15, 2020 deadline for completing all fact discovery, the
deposition must be scheduled to take place no later than June 15.

Thank you for your attention to this matter during this difficult time.

Sincerely,
2S) /o-—
David R. Pogue

DRP/nes
Enclosure
Case 3:17-cv-01362 Document 342-1 Filed 04/17/20 Page 2 of 66 PagelD #: 7110

AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action

UNITED STATES DISTRICT COURT
for the

Southern District of West Virginia

City of Huntington; Cabell County Commission
Plaintiff
Vv.

AmerisourceBergen Drug Corporation, et al.

Civil Action No. 3:17-01362; 3:17-01665

 

Defendant

SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

KAREN BOWLING
VIA EMAIL: kibowling@wvumedicine.org

(Name of person to whom this subpoena is directed)

To:

of Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or

those set forth in an attachment:

 

i earey; Scott, Douglas & Kessier, PLLG ——
Place: 707 Virginia St. East, Suite 901, Charleston, wv 25301_| Date and Time:

. : 06/02/2020 10:00 am

Or another mutually convenient location

 

 

 

 

The deposition will be recorded by this method: _ Stenography and Video
© Production: You, or your representatives, must also bring with you to the deposition the following documents,
electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the

material:
SEE SCHEDULE A

 

The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

CLERK OF COURT
OR

AS

Signature of Clerk or Deputy Clerk Attorney’s signature

The name, address, e-mail address, and telephone number of the attorney representing (name of party) Cardinal Health, Inc
David R. Pogue, Carey, Scott, Douglas & Kessler, PLLC , who issues or requests this subpoena, are:
707 Virginia Street, East, Charieston, WV 25301; drpogue@csdlawfirm.com; 304-345-1234

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to

whom it is directed. Fed. R. Civ. P. 45(a)(4).
 

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AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

(c) Place of Compliance.

(1) For a Trial, Hearing, or Deposition. A subpoena may command a
person to attend a trial, hearing, or deposition only as follows:
(A) within 100 miles of where the person resides, is employed, or
regularly transacts business in person; or
(B) within the state where the person resides, is employed, or regularly
transacts business in person, if the person
(0 is a party or a party’s officer; or
(ii) is commanded to attend a trial and would not incur substantial
expense.

(2) For Other Discovery. A subpoena may command:

(A) production of documents, electronically stored information, or
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and

(B) inspection of premises at the premises to be inspected.

(d) Protecting a Person Subject to a Subpoena; Enforcement.

(1) Avoiding Undue Burden or Expense; Sanctions. A patty or attorney
responsible for issuing and serving a subpoena must take reasonable steps
to avoid imposing undue burden or expense on a person subject to the
subpoena. The court for the district where compliance is required must
enforce this duty and impose an appropriate sanction—which may include
lost earnings and reasonable attorney’s fees—on a party or attorney who
fails to comply.

(2) Command to Produce Materials or Permit Inspection.

(A) Appearance Not Required. A person commanded to produce
documents, electronically stored information, or tangible things, or to
permit the inspection of premises, need not appear in person at the place of
production or inspection unless also commanded to appear for a deposition,
hearing, or trial.

(B) Objections. A person commanded to produce documents or tangible
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. If an objection is made,
the following rules apply:

(i) At any time, on notice to the commanded person, the serving party
may move the court for the district where compliance is required for an
order compelling production or inspection.

(ii) These acts may be required only as directed in the order, and the
order must protect a person who is neither a party nor a party’s officer from
significant expense resulting from compliance.

(3) Quashing or Modifying a Subpoena.

(A) When Required. On timely motion, the court for the district where
compliance is required must quash or modify a subpoena that:

(iD) fails to allow a reasonable time to comply;

(ii) requires a person to comply beyond the geographical limits
specified in Rule 45(c);

(iii) requires disclosure of privileged or other protected matter, if no
exception or waiver applies; or

(iv) subjects a person to undue burden.

(B) When Permitted. To protect a person subject to or affected by a

subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena if it requires:

(i) disclosing a trade secret or other confidential research, development,
or commercial information; or

(ii) disclosing an unretained expert’s opinion or information that does
not describe specific occurrences in dispute and results from the expert’s
study that was not requested by a party.

(©) Specifying Conditions as an Alternative. \n the circumstances
described in Rule 45(d)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under specified
conditions if the serving party:

(® shows a substantial need for the testimony or material that cannot be
otherwise met without undue hardship; and
(ii) ensures that the subpoenaed person will be reasonably compensated.

(e) Duties in Responding to a Subpoena.

(1) Producing Documents or Electronically Stored Information. These
procedures apply to producing documents or electronically stored
information:

(A) Documents. A person responding to a subpoena to produce documents
must produce them as they are kept in the ordinary course of business or
must organize and label them to correspond to the categories in the demand.

(B) Form for Producing Electronically Stored Information Not Specified.
If a subpoena does not specify a form for producing electronically stored
information, the person responding must produce it in a form or forms in
which it is ordinarily maintained or in a reasonably usable form or forms.

(©) Electronically Stored Information Produced in Only One Form. The
person responding need not produce the same electronically stored
information in more than one form.

() Inaccessible Electronically Stored Information. The person
responding need not provide discovery of electronically stored information
from sources that the person identifies as not reasonably accessible because
of undue burden or cost. On motion to compel discovery or for a protective
order, the person responding must show that the information is not
reasonably accessible because of undue burden or cost. If that showing is
made, the court may nonetheless order discovery from such sources if the
requesting party shows good cause, considering the limitations of Rule
26(b)(2)(C). The court may specify conditions for the discovery.

(2) Claiming Privilege or Protection.

(A) Information Withheld. A person withholding subpoenaed information
under a claim that it is privileged or subject to protection as trial-preparation
material must:

(i) expressly make the claim; and

(ii) describe the nature of the withheld documents, communications, or
tangible things in a manner that, without revealing information itself
privileged or protected, will enable the parties to assess the claim.

(B) Information Produced. If information produced in response to a
subpoena is subject to a claim of privilege or of protection as
trial-preparation material, the person making the claim may notify any party
that received the information of the claim and the basis for it. After being
notified, a party must promptly return, sequester, or destroy the specified
information and any copies it has; must not use or disclose the information
until the claim is resolved; must take reasonable steps to retrieve the
information if the party disclosed it before being notified; and may promptly
present the information under seal to the court for the district where
compliance is required for a determination of the claim. The person who
produced the information must preserve the information until the claim is
resolved.

(g) Contempt.

The court for the district where compliance is required—and also, after a
motion is transferred, the issuing court—may hold in contempt a person
who, having been served, fails without adequate excuse to obey the
subpoena or an order related to it.

 

For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).

 

 
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SCHEDULE A

Pursuant to Rule 45 of the Federal Rules of Civil Procedure, Cardinal Health, Inc. hereby

serves the following Requests for Production of Documents on Karen Bowling.

DEFINITIONS

The following terms shall have the meanings set forth below. Notwithstanding any

definition set forth below, each word, term, or phrase used in these Requests is intended to have

the broadest meaning permitted under the Federal Rules of Civil Procedure and the Local Rules

of Procedure for the Southern District of West Virginia.

1.

“You” and “Your” shall mean the person to whom this subpoena duces tecum is
addressed, including all agents, employees, and other persons acting or authorized to act
on his or her behalf.

“Communication” has the full meaning ascribed to it by Local Rule of Civil
Procedure 26.2(c)(1), and means any transmission of information (whether formal or
informal) by one or more Persons and/or between two or more Persons by means
including, but not limited to, telephone conversations, letters, faxes, electronic mail, text
messages, instant messages, other computer linkups, written memoranda, and face-to-
face conversations.

“Document” has the full meaning ascribed to it by Federal Rule of Civil
Procedure 34(a) and Local Rule of Civil Procedure 26.2(c)(2), and means the complete
original (or complete copy where the original is unavailable) and each non-identical copy
(where different from the original because of notes made on the copy or otherwise) of
any writing or record, including, but not limited to, all written, typewritten, handwritten,

printed, or graphic matter of any kind or nature, however produced or reproduced, any
Case 3:17-cv-01362 Document 342-1 Filed 04/17/20 Page 5 of 66 PagelD #: 7113

form of collected data for use with electronic data processing equipment, and any
mechanical or electronic visual or sound recordings or text messages in the possession,
custody, or control of the person to whom this subpoena duces tecum is addressed.
“Documents” include, but are not limited to, books, papers, contracts, memoranda,
invoices, correspondence, notes, studies, reports, manuals, photographs, drawings,
charts, graphs, data compilations, other writings, microfilm, microfiche, audio
recordings, video recordings, electronic mail, and any other information stored in
electronic form, and each different version or copy of each Document, including, but not
limited to, drafts.

4. “Person” has the full meaning ascribed to it by Local Rule of Civil Procedure
26.2(c)(6), and means any natural person or any business, legal or governmental entity or
association.

5. “Prescription Opioids” means FDA-approved pain-reducing medications that
consist of natural, synthetic, or semisynthetic chemicals that bind to opioid receptors in
the brain or body to produce an analgesic effect, including but not limited to prescription
medications containing hydrocodone, oxycodone, fentanyl, and hydromorphone, that
may be obtained by patients only through prescriptions written by duly licensed and
DEA registered prescribers.

6. “Tllicit Opioids” means substances comprised of or containing natural, synthetic,
or semisynthetic chemicals that bind to opioid receptors in the brain or body that are not
approved by FDA, including but not limited to heroin, fentanyl, carfentanil, other

fentanyl-type analogs, and counterfeit opioid medications.
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10.

“Relating to,” “Referring to,” or “Concerning,” when referring to any given
subject matter, means any Document that constitutes, comprises, involves, contains,
embodies, reflects, identifies, states, mentions, alludes to, refers directly or indirectly to
the particular subject matter identified.

“Agency” means any office, division, department, board, commission, task force,
committee, working group, council, bureau, unit, branch, organization, and/or
association, formal or informal, whether a component of a larger entity or a stand-alone
entity.

“Plaintiffs” means the plaintiffs named in this action, the City of Huntington and
Cabell County, including but not limited to, its executive and legislative branches,
agencies, offices, departments, divisions, commissions, committees, subcommittees,
boards, directors, administrators, employees, officers, directors, shareholders, agents,
contractors, vendors, instrumentalities, representatives, counsel, and all Persons and
entities acting or purporting to act under their control or on their behalf.

“Defendants” means all defendants named in City of Huntington v.
AmerisourceBergen Drug Corp., et al., Civil Action No. 3:17-01362, and Cabell County
Commission v. AmerisourceBergen Drug Corp., et al., Civil Action No. 3:17-01665, as
of the date of this notice, and their present or former officers, directors, shareholders,
employees, agents, representatives, counsel and all persons and entities acting or

purporting to act under their control or on their behalf.
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INSTRUCTIONS

1. Unless otherwise agreed in writing, all Documents are to be produced to the
attention of David R. Pogue, Carey, Scott, Douglas & Kessler, PLLC, 707 Virginia
Street, East, Suite 901, Charleston, WV 25301.

2. Unless otherwise indicated, these Requests cover the entire timeframe for which
any of the requested documents have actually been maintained regardless of any
applicable records retention policy.

3. Documents that are in paper form or that constitute other physical objects from
which recorded information may be visually read, as well as audio or video tapes or text
messages and similar recordings, should be produced in their original form or in copies
that are exact duplicates of the originals. Computer files and similar electronic records
should be produced in a readable form.

4, Should You consider any of the documents requested to be confidential such that
they should not be generally disseminated to the public or released to the press, please
designate those documents as such under the operative Protective Orders in this case
(copies attached).

5. Should You determine that any of the documents requested contain personal
health information that may not be disclosed pursuant to HIPAA or analogous state law,
please redact that information and assign in its place a unique identifier.

6. Except as otherwise specified, the timeframe for these requests is January 1, 1996

through the present.
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10.

DOCUMENTS TO BE PRODUCED

All Documents and Communications discussing, referring, or relating to the standard of
care for prescribing and dispensing Prescription Opioids.

All Documents and Communications discussing, referring, or relating to any guidance,
continuing education, training, presentations, policies, procedures, programming, or
resources that You received from any Person or that You provided to any Person
regarding Prescription Opioids.

All Documents and Communications relating to the legitimate need for or use of
Prescription Opioids—meaning any need for and/or use of Prescription Opioids that You
do not contend would be unlawful or harmful—and the responsibilities and obligations of
physicians to treat pain patients.

All Documents and Communications concerning any efforts You have made to
encourage the prescribing and use of Prescription Opioids.

All Documents and Communications concerning any efforts You have made to
discourage the prescribing, abuse, or diversion of Prescription Opioids.

All Documents and Communications You prepared, received, or considered concerning
the dangers, side effects, and addiction risks of Prescription Opioids, and/or ways to
combat the problem of abuse and diversion of Prescription Opioids.

All Documents and Communications You prepared, received, or considered concerning
the benefits, efficacy, and legitimate uses of Prescription Opioids in the treatment of pain.

All Documents and Communications discussing, referring, or relating to Your knowledge
of unlawful prescribing, dispensing, use, misuse, abuse, sale, diversion, production,
transportation, distribution, purchase, theft, and trafficking of Prescription Opioids or
Illicit Opioids within or into the City of Huntington, Cabell County, or any town, village,
or city within Cabell County, or the State of West Virginia.

All Documents and Communications that state, discuss, reflect, or suggest
recommendations for actions to be taken by You or any federal, state, or local Agency
within the City of Huntington, Cabell County, or any town, village, or city within Cabell
County, or the State of West Virginia, to combat the use, misuse, abuse, sale, diversion,
production, transportation, distribution, purchase, and/or trafficking of Prescription
Opioids or Illicit Opioids.

All Documents and Communications discussing, referring, or relating to Your
understanding of the “opioid epidemic” in the City of Huntington, Cabell County, or any
town, village, or city within Cabell County, or the State of West Virginia, the point in
time in which You identified the “opioid epidemic,” any investigation by You of the
cause of the “opioid epidemic,” and any response, training, guidance, laws, regulations,

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continuing education, or efforts to abate You have developed or undertaken in response
to the “opioid epidemic.”

All documents produced by You in any litigation related to the manufacturing, marketing,
or distribution of Prescription Opioids, including but not limited to In National
Prescription Opiate Litigation, Case No. 1:17-md-02804-DAP (N.D. Ohio) and State of
Oklahoma ex rel. Hunter v. Purdue Pharma LP et al., Case No. CJ-2017-816 (Okla. Dist.
Ct.—Cleveland Cty.).

All Documents and Communications concerning any studies, reports, investigations, or
analyses regarding actual or suspected misuse, abuse, or diversion of Prescription
Opioids about which You had knowledge, including but not limited to those that You
prepared, received, or participated in. This includes, but is not limited to, all Documents
concerning Your participation in the preparation, planning, drafting and publication of:
“Report on West Virginia’s Comprehensive Substance Abuse Strategic Action Plan,” and
the initiative contained therein, as found here,
http://wvsubstancefree.org/docs/2358 SubStrategicActionPlan 6PG_rev110711.pdf.

All Documents and Communications reflecting or concerning Your involvement in
drafting, amending, assessing, introducing, lobbying for or against, implementing,
administering, enforcing, and/or monitoring or analyzing compliance with or the effect of
legislation, statutes, rules, regulations, or guidelines concerning Prescription Opioids and
Illicit Opioids, including but not limited to the Intractable Pain Act (West Virginia Code
§ 30-3A-1 et seq.), Senate Bill 437 (2012) (amending several articles of West Virginia
Code related to the Controlled Substance Monitoring Program database), Senate Bill 339
(2017) (West Virginia Code § 16-52-1 et seq.) (creating the Coalition for Responsible
Chronic Pain Management), U.S. Center for Disease Control Guideline for Prescribing
Opioids for Chronic Pain, United States, 2016, the West Virginia Drug Control Policy
Act (West Virginia Code § 15-5T-2), and the Opioid Reduction Act (West Virginia Code
§ 16-54-1 et seq.).

All Documents and Communications discussing, referring, or relating to the West
Virginia Department of Health and Human Resources’ responses, actions, investigations,
guidance, rules, and/or regulations concerning Prescription Opioids or Illicit Opioids, or
funding thereof.

All Documents reflecting or concerning Your involvement in the Governor’s Advisory
Council on Substance Abuse, which was created by Governor Earl Ray Tomblin by
Executive Order 5-11 on September 6, 2011, reestablished by Governor Jim Justice as the
Governor’s Advisory Council on Substance Use Disorder Policy by Executive Order 10-
17 on December 20, 2017, and further reestablished by Governor Jim Justice as the
Govermor’s Council on Substance Abuse Prevention and Treatment by Executive Order
22-18 on December 3, 2018.

All Documents concerning any Communications or interactions You have had with
Plaintiffs concerning the prescribing, dispensing, use, misuse, abuse, sale, diversion,
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17.

18.

19.

20.

production, distribution, purchase, or trafficking of Prescription Opioids within or into
the City of Huntington, Cabell County, or any town, village, or city within Cabell
County, or the State of West Virginia.

All Documents concerning any Communications or interactions You have had
concerning the prescribing, dispensing, use, misuse, abuse, sale, diversion, production,
distribution, purchase, or trafficking of Prescription Opioids, with entities including but
not limited to, interactions with (a) pharmacies or pharmacists, including, but not limited
to, individuals associated with a school of pharmacology, (b) the West Virginia Board of
Pharmacy, (c) the West Virginia Board of Medicine, (d) the West Virginia Board of
Osteopathic Medicine, (e) the West Virginia State Board of Examiners for Licensed
Practical Nurses, (f) the West Virginia State Board of Examiners for Registered
Professional Nurses, (g) the West Virginia Board of Dentistry, (h) doctors, hospitals,
treatment centers, and other healthcare providers, including, but not limited to,
individuals associated with a school of medicine, dentistry, or nursing, (i) patients and
beneficiaries, G) pharmacy benefit managers, (k) drug manufacturers, (1) drug
wholesalers and distributors, including Defendants, (m) federal government agencies and
law enforcement, (n) state and local agencies and law enforcement, including, but not
limited to, agencies related to child and family services and public health, (0) the West
Virginia Controlled Substances Monitoring Program, and/or (p) policymakers and
government officials within legislative or administrative bodies.

All Documents concerning any Communications or interactions You have had with
industry trade groups and associations concerning Prescription Opioid use, misuse, abuse,
and diversion, including but not limited to interactions with the (a) Healthcare
Distribution Management Association, (b) Healthcare Distribution Alliance, (c) Pain
Care Forum, (d) National Association of Chain Drug Stores, (e) Pharmaceutical Research
and Manufacturers of America, (f) West Virginia Pharmacists Association, (g) American
Society of Consultant Pharmacists, (h) American Pharmacists Association, (1) Federation
of State Medical Boards, (j) American Academy of Pain Medicine, (k) Alliance for
Patient Access, (1) U.S. Pain Foundation, (m) West Virginia Hospital Association, (n)
West Virginia State Medical Association, (0) West Virginia Health Care Association,
and/or (p) American Geriatrics Society.

All Documents and Communications discussing, referring to, or relating to improper or
wrongful conduct by Defendants or any other distributors, prescribers, pharmacies, or
other healthcare providers related to Prescription Opioids.

All Documents and Communications discussing, referring to, or relating to Your efforts
to monitor, track, limit, encourage, discourage, prevent, regulate, or document use,
misuse, abuse, or diversion of Prescription Opioids by prescribers or other healthcare
providers employed by a hospital.
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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
EASTERN DIVISION

 

IN RE: NATIONAL PRESCRIPTION

This document relates to: Honorable Dan Aaron Polster

 

 

All Cases
CASE MANAGEMENT ORDER NO. __2 : PROTECTIVE ORDER
1. Scope of Order
1. Disclosure and discovery activity in this proceeding may involve production

of confidential, proprietary, and/or private information for which special protection from
public disclosure and from use for any purpose other than prosecuting this litigation would
be warranted. Accordingly, the parties hereby stipulate to and petition the Court to enter
the following Stipulated Protective Order (“Protective Order” or “Order”). Unless otherwise
noted, this Order is also subject to the Local Rules of this District and the Federal Rules of
Civil Procedure on matters of procedure and calculation of time periods. Unless otherwise

stated, all periods of time provided for in this Order are calculated as calendar days

2. This Protective Order shall govern all hard copy and electronic materials,
the information contained therein, and all other information produced or disclosed during
this proceeding, captioned as in re: National Prescription Opiate Litigation (MDL No.
2804), Case No. 1:17-CV-2804, which includes any related actions that have been or will
be originally filed in this Court, transferred to this Court, or removed to this Court and

assigned there (“the Litigation"). All materials produced or adduced in the course of
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Case: 1:17-md-02804-DAP Doc #: 441 Filed: 05/15/18 2 of 38. PagelD #: 5800

discovery, including all copies, excerpts, summaries, or compilations thereof, whether
revealed in a document, deposition, other testimony, discovery response or otherwise, by
any Party to this Litigation (the “Producing Party”) to any other party or parties (the
“Receiving Party"). This Protective Order is binding upon all the Parties to this Litigation,
including their respective corporate parents, subsidiaries and affiliates and their respective
attorneys, principals, agents, experts, consultants, representatives, directors, officers, and

employees, and others as set forth in this Protective Order.

3. Third parties who so elect may avail themselves of, and agree to be bound
by, the terms and conditions of this Protective Order and thereby become a Producing
Party for purposes of this Protective Order.

4, The entry of this Protective Order does not preclude any party from
seeking a further order of this Court pursuant to Federal Rule of Civil Procedure 26(c).

5. Nothing herein shall be construed to affect in any manner the
admissibility at trial or any other court proceeding of any document, testimony, or other
evidence.

6. This Protective Order does not confer blanket protection on all
disclosures or responses to discovery and the protection it affords extends only to the
specific information or items that are entitled to protection under the applicable legal
principles for treatment as confidential.

ll. Definitions

7. Party. “Party” means any of the parties in this Litigation at the time this
Protective Order is entered, including officers and directors of such parties. If additional
parties are added other than parents, subsidiaries or affiliates of current parties to this

Litigation, then their ability to receive Confidential Information and/or Highly Confidential
2
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Information as set forth in this Protective Order will be subject to them being bound, by

agreement or Court Order, to this Protective Order.

8. Discovery Material. “Discovery Material” means any information, document,
or tangible thing, response to discovery requests, deposition testimony or transcript, and
any other similar materials, or portions thereof. To the extent that matter stored or
recorded in the form of electronic or magnetic media (including information, files,
databases, or programs stored on any digital or analog machine-readable device,
computers, Internet sites, discs, networks, or tapes) (“Computerized Material”) is produced
by any Party in such form, the Producing Party may designate such matters as confidential
by a designation of “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL” on the media.
Whenever any Party to whom Computerized Material designated as CONFIDENTIAL or
HIGHLY CONFIDENTIAL is produced reduces such material to hardcopy form, that Party
shall mark the hardcopy form with the corresponding “CONFIDENTIAL” or “HIGHLY

CONFIDENTIAL” designation.

9. Competitor. Competitor means any company or individual, other than the
Designating Party, engaged in the design; development; manufacture; regulatory review
process; dispensing; marketing; distribution; creation, prosecution, pursuit, or other
development of an interest in protecting intellectual property; and/or licensing of any
product or services involving opioids; provided, however, that this section shall not be
construed as limiting the disclosure of Discovery Material to an Expert in this Litigation, so
long as the notice required under Paragraph 38 is provided to the Designating Party prior
to any such disclosure where required, and so long as no Discovery Material produced by

one Defendant is shown to any current employee or consultant of a different Defendant,
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except as provided in Paragraphs 33 or 34.

10. Confidential Information. “Confidential Information” is defined herein as
information that the Producing Party in good faith believes would be entitled to protection
on a motion for a protective order pursuant to Fed. R. Civ. P. 26(c) on the basis that it
constitutes, reflects, discloses, or contains information protected from disclosure by statute
or that should be protected from disclosure as confidential personal information, medical
or psychiatric information, personnel records, Confidential Protected Health Information,
protected law enforcement materials (including investigative files, overdose records,
narcane, coroner's records, court records, and prosecution files), research, technical,
commercial or financial information that the Designating Party has maintained as
confidential, or such other proprietary or sensitive business and commercial information
that is not publicly available. Public records and other information or documents that are
publicly available may not be designated as Confidential Information. In designating
discovery materials as Confidential Information, the Producing Party shall do so in good
faith consistent with the provisions of this Protective Order and rulings of the Court.
Nothing herein shall be construed to allow for global designations of all documents as
“Confidential.”

11. Highly Confidential Information. “Highly Confidential Information” is defined
herein as information which, if disclosed, disseminated, or used by or to a Competitor of
the Producing Party or any other person not enumerated in Paragraphs 32 and 33, could
reasonably result in possible antitrust violations or commercial, financial, or business
harm. In designating discovery materials as Highly Confidential Information, the

Producing Party shall do so in good faith consistent with the provisions of this Protective
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Order and rulings of the Court. Nothing herein shall be construed to allow for global
designations of all documents as “Highly Confidential.”

12. Manufacturer Defendant: Manufacturer Defendant means any Defendant in
this litigation that manufactures any Opioid Product for sale or distribution in the United
States.

13. Distributor Defendant: Distributor Defendant means any Defendant in this
litigation that distributes any Opioid Product in the United States other than a product they
manufacture or license for manufacture.

14. Retail Defendant: Retail Defendant means any Defendant in this litigation
that sells or distributes any Opioid Product directly to consumers in the United States.

15. Receiving Party. “Receiving Party” means a Party to this Litigation, and all
employees, agents, and directors (other than Counsel) of the Party that receives
Discovery Material from a Producing Party.

16. Producing Party. “Producing Party” means a Party to this Litigation, and all
directors, employees, and agents (other than Counsel) of the Party or any third party that
produces or otherwise makes available Discovery Material to a Receiving Party, subject to
paragraph 3.

17. Protected Material. “Protected Material” means any Discovery Material, and
any copies, abstracts, summaries, or information derived from such Discovery Material,
and any notes or other records regarding the contents of such Discovery Material, that is
designated as “Confidential” or “Highly Confidential” in accordance with this Protective
Order.

18. Qutside Counsel. “Outside Counsel” means any law firm or attomey who
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represents any Party for purposes of this litigation.

19. In-House Counsel. “In-House Counsel” means attorney employees of any
Party.

20. Counsel. “Counsel,” without another qualifier, means Outside Counsel and
In- House Counsel.

21. Independent Expert. “Independent Expert” means an expert and/or
independent consultant formally retained, and/or employed to advise or to assist Counsel
in the preparation and/or trial of this Litigation, and their staff who are not employed by a
Party to whom it is reasonably necessary to disclose Confidential Information or Highly
Confidential Information for the purpose of this Litigation.

22. This Litigation. “This Litigation” means all actions in MDL No. 2804, /n re:

National Prescription Opiate Litigation or hereafter subject to transfer to MDL No. 2804.
lll. Designation and Redaction of Confidential Information

23. For each document produced by the Producing Party that contains or
constitutes Confidential Information or Highly Confidential Information pursuant to this
Protective Order, each page shall be marked “CONFIDENTIAL—SUBJECT TO
PROTECTIVE ORDER’, or “HIGHLY CONFIDENTIAL—SUBJECT TO PROTECTIVE
ORDER" or comparablenotices.

24. Specific discovery responses produced by the Producing Party shall, if
appropriate, be designated as Confidential Information or Highly Confidential Information
by marking the pages of the document that contain such information with the notation
“CONFIDENTIAL—SUBJECT TO PROTECTIVE ORDER’, or “HIGHLY

CONFIDENTIAL—SUBJECT TO PROTECTIVE ORDER’ or comparablenotices.
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25. Information disclosed through testimony at a deposition taken in connection
with this Litigation may be designated as Confidential Information or Highly Confidential
Information by designating the portions of the transcript in a letter to be served on the
court reporier and opposing counsel within thirly (30) calendar days of the Producing
Party’s receipt of the certified transcript of a deposition. The court reporter will indicate the
portions designated as Confidential or Highly Confidential and segregate them as
appropriate. Designations of transcripts will apply to audio, video, or other recordings of
the testimony. The court reporter shall clearly mark any transcript released prior to the
expiration of the 30-day period as “HIGHLY CONFIDENTIAL—SUBJECT TO FURTHER
CONFIDENTIALITY REVIEW.” Such transcripts will be treated as Highly Confidential
Information until the expiration of the 30-day period. If the Producing Party does not serve
a designation letter within the 30-day period, then the entire transcript will be deemed
not to contain Confidential Information or Highly Confidential Information and the
“HIGHLY CONFIDENTIAL—SUBJECT TO FURTHER CONFIDENTIALITY REVIEW"
legend shall be removed.

26. In accordance with this Protective Order, only the persons identified under
Paragraphs 33 and 34, below, along with the witness and the witness’s counsel may be
present if any questions regarding Confidential Information or Highly Confidential are
asked. This paragraph shall not be deemed to authorize disclosure of any document or
information to any person to whom disclosure is prohibited under this Protective Order.

27. A Party in this Litigation may designate as “CONFIDENTIAL” or “HIGHLY
CONFIDENTIAL” any document, material, or other information produced by, or testimony

given by, any other person or entity that the designating Party reasonably believes
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qualifies as the designating Party's Confidential Information or Highly Confidential
Information pursuant to this Protective Order. The Party claiming confidentiality shall
designate the information as such within thirty (30) days of its receipt of such information.
Any Party receiving information from a third pariy shall treat such information as Highly
Confidential during this thirty (30) day period while all Parties have an opportunity to
review the information and determine whether it should be designated as confidential. Any
Party designating third party information as Confidential Information or Highly Confidential
Information shall have the same rights as a Producing Party under this Protective Order
with respect to such information.

28. This Protective Order shall not be construed to protect from production or to
permit the “Confidential Information” or “Highly Confidential Information” designation of any
document that (a) the party has not made reasonable efforts to keep confidential, or (b) is
at the time of production or disclosure, or subsequently becomes, through no wrongful act
on the part of the Receiving Party or the individual or individuals who caused the
information to become public, generally available to the public through publication or
otherwise.

29. In order to protect against unauthorized disclosure of Confidential
Information and Highly Confidential Information, a Producing Party may redact certain
Confidential or Highly Information from produced documents, materials or other things.
The basis for any such redaction shall be stated in the Redaction field of the metadata
produced pursuant to the Document Production Protocol or, in the event that such
metadata is not technologically feasible, a log of the redactions. Specifically, the

Producing Party may redact:
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(i) Personal Identifying Information. The names, home addresses, personal
email addresses, home telephone numbers, Social Security or tax identification numbers,
and other private information protected by law of (a) current and former employees (other
than employees’ names and business contact information) and (b) individuals in clinical
studies or adverse event reports whose identity is protected bylaw.

(ii) Privileged Information. Information protected from disclosure by the
attorney-client privilege, work product doctrine, or other such legal privilege protecting
information from discovery in this Litigation. The obligation to provide, and form of, privilege

logs will be addressed by separate Order.

(iii) Third Party Confidential Information. if agreed to by the Parties or
ordered by the Court under Paragraph 78, Information that is protected pursuant to

confidentiality agreements between Designating Parties and third parties, as long as the
agreements require Designating Parties to redact such information in order to produce such
documents in litigation.

30. To the extent any document, materials, or other things produced contain
segregated, non-responsive Confidential or Highty Confidential Information concerning a
Producing Party’s non-opioid products (or, in the case of Plaintiffs, concerning programs,
services, or agencies not at issue in this litigation), the Producing Party may redact that
segregated, non-responsive, Confidential or Highly Confidential information except (a) that
if a Producing Party’s non-opioid product is mentioned in direct comparison to the
Producing Party's opioid product, then the name and information about that product may
not be redacted or (b) if the redaction of the name and information about the Producing
Party's non-opioid product(s) would render the information pertaining to Producing Party's

opioid product meaningless or would remove the context of the information about
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Producing Party’s opioid product, the name and information about the other product may
not be redacted. Nothing in this paragraph shail restrict Plaintiffs’ right and ability to
request information about such other products nor restrict Defendants’ right to object to or
otherwise seek protection from ihe Court concerning any such request.

31. Pursuant to 21 C.F.R. §§ 314.430(e) & (f) and 20.63(f), the names of any
person or persons reporting adverse experiences of patients and the names of any
patients who were reported as experiencing adverse events that are not redacted shall be
treated as confidential, regardless of whether the document containing such names is
designated as CONFIDENTIAL INFORMATION. No such person shall be contacted, either
directly or indirectly, based on the information so disclosed without the express written

permission of the Producing Party.
IV. Access to Confidential and Highly Confidential Information

32. General. The Receiving Party and counsel for the Receiving Party shall not.

 

disclose or permit the disclosure of any Confidential or Highly Confidential Information to
any third person or entity except as set forth in Paragraphs 33 and 34.

33. In the absence of written permission from the Producing Party or an order of

the Court, any Confidential Information produced in accordance with the provisions of this

. Protective Order shall be used solely for purposes of this Litigation (except as provided by

Paragraph 33.1) and its contents shall not be disclosed to any person unless that person

falls within at least one of the following categories:
a. Outside Counsel and In-House Counsel, and the attorneys, paralegals,
stenographic, and clerical staff employed by such counsel;

b. Vendor agents retained by the parties or counsel for the parties, provided

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that the vendor agrees to be bound by this Protective Order andcompletes
the certification contained in Exhibit A, Acknowledgment and Agreement to
Be Bound;

c. Individual Parties;

d. Present or former officers, directors, and employees of a Party, provided that
former officers, directors, or employees of the Designating Party may be
shown documents prepared after the date of his or her departure only to the
extent counsel for the Receiving Party determines in good faith that the
employee’s assistance is reasonably necessary to the conduct of this
Litigation and provided that such persons have completed the certification
contained in Exhibit A, Acknowledgment and Agreement to Be Bound.
Nothing in this paragraph shall be deemed to permit the showing of one
defendant's Confidential Information to an officer, director, or employee of
another defendant, except to the extent otherwise authorized by this Order;

e. Stenographic employees and court reporters recording or transcribing
testimony in this Litigation;

f. The Court, any Special Master appointed by the Court, and any members of
their staffs to whom it is necessary to disclose the information;

g. Formally retained independent experts and/or consultants, provided that the
recipient agrees to be bound by this Protective Order and completes the
certification contained in Exhibit A, Acknowledgment and Agreement to Be
Bound;

h. Any individual(s) who authored, prepared, or previously reviewed or received

the information;

1k
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i. To the extent contemplated by Case Management Order One, dated April
11, 2018 (Dkt. No. 232), those liability insurance companies from which any
Defendant has sought or may seek insurance coverage to (i) provide or
reimburse for the defense of the Litigation and/or (ii) satisfy all or part of any
liability in the Litigation.

j. State or federal law enforcement agencies, but only after such persons have
completed the certification contained in Exhibit A, Acknowledgment and
Agreement to Be Bound. Disclosure pursuant to this subparagraph will be
made only after the Designating Party has been given ten (10) days’ notice
of the Receiving Party's intent to disclose, and a description of the materials
the Receiving Party intends to disclose. If the Designating Party objects to
disclosure, the Designating Party may request a meet and confer and may
seek a protective order from the Court.

k. Plaintiff's counsel of record to any Plaintiff with a case pending in MDL 2804
shall be permitted to receive the Confidential Information of any Producing
Party regardless of whether that attorney is counsel of record in any
individual action against the Producing Party and there shall be no need for
such counsel to execute such acknowledgement because such counsel is
bound by the terms of this Protective Order;

|. Counsel for claimants in litigation pending outside this Litigation and arising
from one or more Defendants’ manufacture, marketing, sale, or distribution
of opioid products for use in this or such other action in which the Producing
Party is a Defendant in that litigation, provided that the proposed recipient

agrees to be bound by this Protective Order and completed the certification

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contained in Exhibit A, Acknowledgment and Agreement to Be Bound.
Plaintiffs’ Liaison Counsel shall disclose to all Defendants at the end of each
month a cumulative list providing the identity of the counsel who have
executed such acknowledgements and will receive Confidential and Highly
Confidential Information pursuant to this Order and a list of the case
name(s), number(s), and jurisdiction(s) in which that counsel represents
other claimants. Neither the receipt of information pursuant to this
paragraph nor the provision of the certification shall in any way be deemed a
submission, by the claimant represented by counsel in such outside
litigation, to the jurisdiction of this Court or any other federal court or a
waiver of any jurisdictional arguments available to such claimant, provided,
however, that any such recipient of documents or information produced
under this Order shall submit to the jurisdiction of this Court for any
violations of this Order.; or

m. Witnesses during deposition, who may be shown, but shall not be permitted
to retain, Confidential Information; provided, however, that, unless otherwise
agreed by the relevant Parties or ordered by the Court, no Confidential
information of one defendant may be shown to any witness who is a current
employee of another defendant who is not otherwise authorized to receive

the information under this Order.
34. In the absence of written permission from the Producing Party or an order of
the Court, any Highly Confidential Information produced in accordance with the provisions
of this Protective Order shall be used solely for purposes of this Litigation (except as

provided by Paragraph 34.j) and its contents shall not be disclosed to any person unless
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that person falls within at least one of the following categories:

a. Outside Counsel and In-House Counsel of any Plaintiff, and the attorneys,
paralegals, stenographic, and clerical staff employed by such counsel.
Information designaled as Highly Confidential by any Defendant may be
disclosed to one In-House counsel of another Defendant, provided that the
In-House counsel (i) has regular involvement in the Litigation, (ii) disclosure
to the individual is reasonably necessary to this Litigation, and (iii) the
individual completes the certification contained in Exhibit A,
Acknowledgment and Agreement to Be Bound. Except as otherwise
provided in this Order or any other Order in this Litigation, no other
Employees of a Defendant may receive the Highly Confidential information
of another. Any information designated as Highly Confidential shall be
disclosed to an In-House Counsel for any Plaintiff only to the extent Outside
Counsel for that Plaintiff determines in good faith that disclosure to the In-
House Counsel is reasonably necessary to the Litigation;

b. Vendor agents retained by the parties or counsel for the parties, provided
that the vendor agrees to be bound by this Protective Order andcompletes
the certification contained in Exhibit A, Acknowledgment and Agreement to
Be Bound;;

c. Individual Parties that have produced the designated information;

d. Stenographic employees and court reporters recording or transcribing
testimony in this Litigation;

e. The Court, any Special Master appointed by the Court, and any members of

their staffs to whom it is necessary to disclose the information;

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f. Formally retained independent experts and/or consultants, provided that the
recipient agrees to be bound by this Protective Order and completes the
certification contained in Exhibit A, Acknowledgment and Agreement to Be
Bound;

g. Any individual(s) who authored, prepared or previously reviewed or received
the information;

h. State or federal law enforcement agencies, but only after such persons have
completed the certification contained in Exhibit A, Acknowledgment and
Agreement to Be Bound. Disclosure pursuant to this subparagraph will be
made only after the Designating Party has been given ten (10) days’ notice
of the Receiving Party's intent to disclose, and a description of the materials
the Receiving Party intends to disclose. if the Designating Party objects to
disclosure, the Designating Party may request a meet and confer and may
seek a protective order from the Court.

i. Plaintiff's counsel of record to any Plaintiff with a case pending in MDL 2804
shall be permitted to receive the Confidential Information of any Producing
Party regardless of whether that attorney is counsel of record in any
individual action against the Producing Party and there shall be no need for
such counsel to execute such acknowledgement because such counsel is
bound by the terms of this Protective Order;

j. Counsel for claimants litigation pending outside this Litigation and arising
from one or more Defendants’ manufacture, marketing, sale, or distribution
of opioid products for use in this or such other action in which the Producing

Party is a Defendant in that litigation, provided that the proposed recipient
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agrees to be bound by this Protective Order and completes the certification
contained in Exhibit A, Acknowledgment and Agreement to Be Bound.
Plaintiffs’ Liaison Counsel shall disclose to all Defendants at the end of each
month a cumulative list providing the identity of the counsel who have
executed such acknowledgements and will receive Confidential and Highly
Confidential Information pursuant to this Order and a list of the case
name(s), number(s), and jurisdiction(s) in which that counsel represents
other claimants. Neither the receipt of information pursuant to this
paragraph nor the provision of the certification shall in any way be deemed a
submission, by the claimant represented by counsel in such outside
litigation, to the jurisdiction of this Court or any other federal court or a
waiver of any jurisdictional arguments available to such claimant; or

k. Witnesses during deposition, who may be shown, but shall not be permitted
to retain, Highly Confidential Information; provided, however, that, unless
otherwise agreed by the relevant Parties or ordered by the Court, no Highly
Confidential Information of one defendant may be shown to any witness who
is a current employee of another defendant who is not otherwiseauthorized

to receive the information under this Order.

35. With respect to documents produced to Plaintiffs, documents designated as
“HIGHLY CONFIDENTIAL” will be treated in the same manner as documents
designated “CONFIDENTIAL,” except that Plaintiffs may not disclose Highly Confidential
Information to In-House Counsel (or current employees) of any Competitor of the
Producing Party, except as otherwise provided in this Order or any other Order in this

Litigation.
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36. In the event that In-House Counsel (or current employees) of any Competitor
of the Producing Party is present at the deposition of an employee or former employee of
the Producing Party, prior to a document designated as Highly Confidential being used in
the examinaiion, such In-House Counsel (current employees) of any Competitor of the
Producing Party shall excuse himself or herself from the deposition room without delaying
or disrupting the deposition.

V. Confidentiality Acknowledgment

37. Each person required under this Order to complete the certification
contained in Exhibit A, Acknowledgment and Agreement to Be Bound, shall be provided
with a copy of this Protective Order, which he or she shall read, and, upon reading this
Protective Order, shall sign an Acknowledgment, in the form annexed hereto as Exhibit A,
acknowledging that he or she has read this Protective Order and shall abide by its terms.
These Acknowledgments are strictly confidential. Unless otherwise provided in this Order,
Counsel for each Party shall maintain the Acknowledgments without giving copies to the
other side. The Parties expressly agree, and it is hereby ordered that, except in the event
of a violation of this Protective Order, there will be no attempt to seek copies of the
Acknowledgments or to determine the identities of persons signing them. If the Court finds
that any disclosure is necessary to investigate a violation of this Protective Order, such
disclosure will be pursuant to separate court order. Persons who come into contact with
Confidential Information or Highly Confidential Information for clerical or administrative
purposes, and who do not retain copies or extracts thereof, are not required to execute

Acknowledgements, but must comply with the terms of this Protective Order.

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VI. Litigation Experts and Consultants.

38. Formally Retained Independent Experts and Consultants. Subject to the
provisions of this Protective Order, all Confidential Information or Highly Confidential
Information may be disclosed to any formally retained independent expert or consultant
who has agreed in writing pursuant to Paragraph 37 or on the record of a deposition to be
bound by this Protective Order. The party retaining an independent expert or consultant
shall use diligent efforts to determine If the independent expert or consultant is currently
working with or for a Competitor of a Producing Party in connection with a Competitor's
opioid product. Prior to the initial disclosure of any information designated as Confidential
Information or Highly Confidential Information to an expert or consultant who is currently
working with or for a Competitor of the Producing Party in connection with a Competitor's
opioid product, the party wishing to make such a disclosure (“Notifying Party") shall
provide to counsel for the Producing Party in writing, which may include by e- mail, a
statement that such disclosure will be made, identifying the general subject matter
category of the Discovery Material to be disclosed, providing the nature of the affiliation
with the Competitor entity and name of the Competitor entity, and stating the general
purpose of such disclosure; the specific name of the formally retained independent expert
or consultant need not be provided. The Producing Party shall have seven (7) days from
its receipt of the notice to deliver to the Notifying Party its good faith written objections (if
any), which may include e-mail, to such disclosure to the expert or consultant.

39. Absent timely objection, the expert or consultant shall be allowed to receive
Confidential and Highly Confidential Information pursuant to the terms of this Protective

Order. Upon and pending resolution of a timely objection, disclosure to the expert or

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consultant shall not be made. If the Notifying Party desires to challenge to the Producing
Party's written objection to the expert or consultant, the Notifying Party shall so inform the
Producing Party in writing, within ten (10) days of receipt of the Producing Party’s written
objection, of its reasons for challenging the objection. The expert or consuliant shall then
be allowed to receive Confidential and Highly Confidential Information pursuant to the
terms of this Protective Order after seven (7) days from receipt of the Producing Party’s
timely challenge to the written objection to the expert or consultant, unless within that
seven day period, the Producing Party seeks relief from the Court pursuant to the
procedures for discovery disputes set forth in Section 9(0) of Case Management Order
One, or the Parties stipulate to an agreement. Once a motion is filed, disclosure shall not
occur until the issue is decided by the Court and, if the motion is denied, the appeal period
from the Court order denying the motion has expired. In making such motion, it shall be
the Producing Party's burden to demonstrate good cause for preventing such disclosure.

Vil. Protection and Use of Confidential and Highly Confidential Information

40. Persons receiving or having knowledge of Confidential Information or Highly
Confidential Information by virtue of their participation in this proceeding, or by virtue of
obtaining any documents or other Protected Material produced or disclosed pursuant to
this Protective Order, shall use that Confidential Information or Highly Confidential
Information only as permitted by this Protective Order. Counsel shall take reasonable
steps to assure the security of any Confidential Information or Highly Confidential
Information and will limit access to such material to those persons authorized by this
Protective Order.

41. Nothing herein shall restrict a person qualified to receiveConfidential

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information and Highly Confidential Information pursuant to this Protective Order from
making working copies, abstracts, digests and analyses of such information for use in
connection with this Litigation and such working copies, abstracts, digests and analyses
shall be deemed to have the same level of protection under the terms of this Protective
Order. Further, nothing herein shall restrict a qualified recipient from converting or
translating such information into machine-readable form for incorporation in a data
retrieval system used in connection with this Litigation, provided that access to such
information, in whatever form stored or reproduced, shall be deemed to have the same
level of protection under the terms of this Protective Order.

42. All persons qualified to receive Confidential information and Highly
Confidential Information pursuant to this Protective Order shall at all times keep all
notes, abstractions, or other work product derived from or containing Confidential
Information or Highly Confidential Information in a manner to protect it from disclosure not
in accordance with this Protective Order, and shall be obligated to maintain the
confidentiality of such work product and shall not disclose or reveal the contents of said
notes, abstractions or other work product after the documents, materials, or other thing, or
portions thereof (and the information contained therein) are returned and surrendered
pursuant to Paragraph 46. Nothing in this Protective Order requires the Receiving Party's
Counsel to disclose work product at the conclusion of the case.

43. Notwithstanding any other provisions hereof, nothing herein shall restrict
any Party’s Counsel from rendering advice to that Counsel's clients with respect to this
proceeding or a related action in which the Receiving Party is permitted by this Protective
Order to use Confidential Information or Highly Confidential Information and, in the course

thereof, relying upon such information, provided that in rendering such advice, Counsel

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shall not disclose any other Party's Confidential Information or Highly Confidential
Information other than in a manner provided for in this Protective Order.

44. Nothing contained in this Protective Order shall prejudice in any way the
rights of any Party to object to the relevancy, authenticity, or admissibility into evidence of
any document or other information subject to this Protective Order, or otherwise constitute
or operate as an admission by any Party that any particular document or other information
is or is not relevant, authentic, or admissible into evidence at any deposition, at trial, or in
a hearing

45. Nothing contained in this Protective Order shall preclude any Party from
using its own Confidential Information or Highly Confidential Information in any manner it
sees fit, without prior consent of any Party or the Court.

46. To the extent that a Producing Party uses or discloses to a third party its
designated confidential information in a manner that causes the information to lose its
confidential status, the Receiving Party is entitled to notice of the Producing Party’s use of
the confidential information in such a manner that the information has lost its
confidentiality, and the Receiving Party may also use the information in the same manner
as the Producing Party.

47. If a Receiving Party learns of any unauthorized disclosure of Confidential
Information or Highly Confidential Information, it shall immediately (a) inform the
Producing Party in writing of all pertinent facts relating to such disclosure; (b) make its
best effort to retrieve all copies of the Confidential Information or Highly Confidential
Information; (c) inform the person or persons to whom unauthorized disclosures were
made of all the terms of this Protective Order; and (d) request such person or persons

execute the Acknowledgment that is attached hereto as Exhibit A.
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48. Unless otherwise agreed or ordered, this Protective Order shall remain in
force after dismissal or entry of final judgment not subject to further appeal of this
Litigation.

49. Within ninety (90) days after dismissal or entry of final judgment not
subject to further appeal of this Litigation, or such other time as the Producing Party may
agree in writing, the Receiving Party shall return all Confidential Information and Highly
Confidential Information under this Protective Order unless: (1) the document has been
offered into evidence or filed without restriction as to disclosure; (2) the Parties agree to
destruction to the extent practicable in lieu of return;' or (3) as to documents bearing the
notations, summations, or other mental impressions of the Receiving Party, that Party
elects to destroy the documents and certifies to the producing party that it has done so.

50. Notwithstanding the above requirements to return or destroydocuments,
Plaintiffs’ outside counsel and Defendants’ outside counsel may retain (1) any materials
required to be retained by law or ethical rules, (2) one copy of their work file and work
product, and (3) one complete set of all documents filed with the Court including those
filed under seal, deposition and trial transcripts, and deposition and trial exhibits. Any
retained Confidential or Highly Confidential Discovery Material shall continue to be
protected under this Protective Order. An attorney may use his or her work product in
subsequent litigation, provided that the attorney's use does not disclose or use

Confidential Information or Highly Confidential information.

 

' The parties may choose to agree that the Receiving Party shall destroy documents containing
Confidential Information or Highly Confidential Information and certify the fact of
destruction, and that the Receiving Party shall not be required to locate, isolate and return e-
mails (including attachments to e-mails) that may include Confidential Information or Highly
Confidential Information, or Confidential Information or Highly Confidential Information contained
in deposition transcripts or drafts or final expert reports.

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Vill. Changes in Designation of Information

51. If a Party through inadvertence produces any Confidential Information or
Highly Confidential Information without labeling or marking or otherwise designating it as
such in accordance with the provisions of this Protective Ordei, Ue Producing Parly may
give written notice to the Receiving Party that the document or thing produced is deemed
“CONFIDENTIAL” or “HIGHLY CONFIDENTIAL” and should be treated as such in
accordance with the provisions of this Protective Order, and provide replacement media,
images, and any associated production information to conform the document to the
appropriate designation and facilitate use of the revised designation in the production. The
Receiving Party must treat such documents and things with the noticed level of protection
from the date such notice is received. Disclosure, prior to the receipt of such notice of
such information, to persons not authorized to receive such information shall not be
deemed a violation of this Protective Order. Any Producing Party may designate as
“CONFIDENTIAL” or “HIGHLY CONFIDENTIAL” or withdraw a “CONFIDENTIAL” or
“HIGHLY CONFIDENTIAL” designation from any material that it has produced consistent
with this Protective Order, provided, however, that such redesignation shall be effective
only as of the date of such redesignation. Such redesignation shall be accomplished by
notifying Counsel for each Party in writing of such redesignation and providing
replacement images bearing the appropriate description, along with the replacement
media, images, and associated production information referenced above. Upon receipt of
any redesignation and replacement image that designates material as “CONFIDENTIAL”
or “HIGHLY CONFIDENTIAL”, the Receiving Party shall (i) treat such material in
accordance with this Protective Order; (ii) take reasonable steps to notify any persons

known to have possession of any such material of such redesignation under this

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Protective Order; and (iii) promptly endeavor to procure all copies of such material from
any persons known to have possession of such material who are not entitled to receipt
under this Protective Order. It is understood that the Receiving Party's good faith efforts to
procure all copies may not result in the actual return of all copies of such materials.

52. A Receiving Party does not waive its right to challenge a confidentiality
designation by electing not to mount a challenge promptly after the original designation is
disclosed. If the Receiving Party believes that portion(s) of a document are not properly
designated as Confidential Information or Highly Confidential Information, the Receiving
Party will identify the specific information that it believes is improperly designated and
notify the Producing Party, in writing or voice-to-voice dialogue, of its good faith belief that
the confidentiality designation was not proper and must give the Producing Party an
opportunity to review the designated material, to reconsider the circumstances, and, if no
change in designation is offered, to explain, in writing within seven (7) days, the basis of
the chosen designation. If a Receiving Party elects to press a challenge to a
confidentiality designation after considering the justification offered by the Producing
Party, it shall notify the Producing Party and the Receiving Party shall have seven (7) days
from such notification to challenge the designation by commencing a discovery dispute
under the procedures set forth in Section 9(0) of Case Management Order One. The
ultimate burden of persuasion in any such challenge proceeding shall be on the Producing
Party as if the Producing Party were seeking a Protective Order pursuant to Fed. R. Civ.
P. 26(c) in the first instance. Until the Court rules on the challenge, all Parties shall
continue to afford the material in question the level of protection to which it is entitled
under the Producing Party's designation. in the even that a designation is changed by the

Producing Party or by Court Order, the Producing Party shall provide replacement media,
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images, and associated production information as provided above.

IX. Inadvertent Production of Documents

53. Non-Waiver of Privilege. The parties agree that they do not intend to
disclose infomation subject to a claim of allorney-client privilege, alloiney work product
protection, common-interest privilege, or any other privilege, immunity or protection from
production or disclosure (“Privileged Information”). If, nevertheless, a Producing Party
discloses Privileged Information, such disclosure (as distinct from use) shall be deemed
inadvertent without need of further showing under Federal Rule of Evidence 502(b) and
shall not constitute or be deemed a waiver or forfeiture of the privilege or protection from
discovery in this case or in any other federal or state proceeding by that party (the
“Disclosing Party”). This Section shall be interpreted to provide the maximum protection
allowed by Federal Rule of Evidence 502(d).

54. Notice of Production of Privileged Information. If a Party or non-Party
discovers that it has produced Privileged Information, it shall promptly notify the Receiving
Party of the production in writing, shall identify the produced Privileged Information by
Bates range where possible, and may demand that the Receiving Party return or destroy
the Privileged Information. In the event that a Receiving Party receives information that it
believes is subject to a good faith claim of privilege by the Designating Party, the
Receiving Party shall immediately refrain from examining the information and shall
promptly notify the Designating Party in writing that the Receiving Party possesses
potentially Privileged Information. The Designating Party shall have seven (7) days to
assert privilege over the identified information. If the Designating Party does not assert a
claim of privilege within the 7-day period, the information in question shall be deemed non-

privileged.
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55. Recall of Privileged Information. !f the Designating Party has notified the
Receiving Party of production, or has confirmed the production called to its attention by
the Receiving Party, the Receiving Party shall within fourteen (14) days of receiving such
notification or confirmation: (1) destroy or return to the Designating Party all copies or
versions of the produced Privileged Information requested to be returned or destroyed; (2)
delete from its work product or other materials any quoted or paraphrased portions of the
produced Privileged Information; and (3) ensure that produced Privileged Information is
not disclosed in any manner to any Party or non-Party. The following procedures shall be
followed to ensure all copies of such ESI are appropriately removed from the Receiving
Party's system:

i. Locate each recalled document in the document review/production
database and delete the record from the database;

ii. If there is a native file link to the recalled document, remove the native
file from the network path;

iii. If the database has an image load file, locate the document image(s)
loaded into the viewing software and delete the image file(s) corresponding to the recalled
documents. Remove the line(s) corresponding to the document image(s) from the image
load file;

iv. Apply the same process to any additional copies of the document or
database, where possible;

v. Locate and destroy all other copies of the document, whetherin
electronic or hardcopy form. To the extent that copies of the document are contained on
write-protected media, such as CDs or DVDs, these media shall be discarded, with the

exception of production media received from the recalling party, which shall be treated as

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described herein;

vi. If the document was produced in a write-protected format, the party
seeking to recall the document shall, at its election, either (i) provide a replacement copy of
the relevant production from which the document has been removed, in which case the
receiving party shall discard the original production media; or (ii) allow the receiving party to
retain the original production media, in which case the receiving party shall take steps to
ensure that the recalled document will not be used; and

vii. Confirm that the recall of ES! under this procedure is complete by way
of letter to the party seeking to recall ESI.

56. Notwithstanding the above, the Receiving Party may segregate and
retain one copy of the clawed back information solely for the purpose of disputing the
claim of privilege. The Receiving Party shall not use any produced Privileged Information
in connection with this Litigation or for any other purpose other than to dispute the claim of
privilege. The Receiving Party may file a motion disputing the claim of privilege and
seeking an order compelling production of the material at issue; the Designating Party
may oppose any such motion, including on the grounds that inadvertent disclosure does
not waive privilege.

57. Within 14 days of the notification that such Privileged Information has
been returned, destroyed, sequestered, or deleted (“Clawed-Back Information’), the
Disclosing Party shall produce a privilege log with respect to the Clawed-Back Information.
Within 14 days after receiving the Disclosing Party's privilege log with respect to such
Clawed-Back Information, a receiving party may notify the Disclosing Party in writing of an
objection to a claim of privilege or work-product protection with respect to the Clawed-

Back Information. Within 14 days of the receipt of such notification, the Disclosing Party
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and the objecting party shall meet and confer in an effort to resolve any disagreement
concerning the Disclosing Party's privilege or work-product claim with respect to such
Clawed-Back Information. The parties may stipulate to extend the time periods set forth in
this paragraph.

58. lf, for any reason, the Disclosing Party and Receiving Party (or parties)
do not resolve their disagreement after conducting the mandatory meet and confer, the
Receiving Party may request a conference with the Court pursuant to the procedures set
forth in Case Management Order One. The Disclosing Party bears the burden of
establishing the privileged or protected nature of any Privileged Information.

59. Nothing contained herein is intended to or shall serve to limit a party's
right to conduct a review of documents, ESI or information (including metadata) for
relevance, responsiveness and/or segregation of privileged and/or protected information
before production. Nothing in this Order shall limit the right to request an in-camera
review of any Privileged Information.

60. In the event any prior order or agreement between the parties and/or
between the parties and a non-party conceming the disclosure of privileged and/or work
product protected materials conflicts with any of the provisions of this Order, the
provisions of this Stipulated Order shall control.

61. Nothing in this Order overrides any attorney's ethical responsibilities to
refrain from examining or disclosing materials that the attomey knows or reasonably
should know to be privileged and to inform the Disclosing Party that such materials have
been produced.

X. Filing and Use at Trial of Protected Material

62. Only Confidential or Highly Confidential portions of relevant documents
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are subject to sealing. To the extent that a brief, memorandum, or pleading references any
document designated as Confidential or Highly Confidential, then the brief, memorandum
or pleading shall refer the Court to the particular exhibit filed under seal without disclosing
the contents of any confidential information. If, however, the confidential information must
be intertwined within the text of the document, a party may timely move the Court for leave
to file both a redacted version for the public docket and an unredacted version for sealing.

63. Absent a  Court-granted exception based upon extraordinary
circumstances, any and all filings made under seal shail be submitted electronically and
shall be linked to this Stipulated Protective Order or other relevant authorizing order. If
both redacted and unredacted versions are being submitted for filing, each version shall
be clearly named so there is no confusion as to why there are two entries on the docket
for the same filing.

64. If the Court has granted an exception to electronic filing, a sealed filing
shall be placed in a sealed envelope marked “CONFIDENTIAL - SUBJECT TO
PROTECTIVE ORDER.” The sealed envelope shall display the case name and number, a
designation as to what the document is, the name of the party on whose behalf it is
submitted, and the name of the attorney who has filed the sealed document. A copy of this
Stipulated Protective Order, or other relevant authorizing order, shall be included in the
sealed envelope.

65. A Party that intends to present Confidential Information orHighly
Confidential Information at a hearing shall bring that issue to the Court's and Parties’
attention without disclosing the Confidential Information or Highly Confidential Information.
The Court may thereafter make such orders, including any stipulated orders, as are

necessary to gover the use of Confidential Information or Highly Confidential Information

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at the hearing. The use of any Confidential Information or Highly Confidential Information
at trial shall be governed by a separate stipulation and/or court order.

XI. Information or Highly Confidential information Requested by Third Party;
Procedure Following Request.

66. If any person receiving Discovery Material covered by this Protective
Order (the “Receiver’) is served with a subpoena, a request for information, or any other
form of legal process that purports to compel disclosure of any Confidential Information or
Highly Confidential Information covered by this Protective Order (“Request”), the Receiver
must so notify the Designating Party, in writing, immediately and in no event more than
five (5) court days after receiving the Request. Such notification must include a copy of the
Request.

67. The Receiver also must immediately inform the party who made the
Request (“Requesting Party”) in writing that some or all the requested material is the
subject of this Protective Order. In addition, the Receiver must deliver a copy of this
Protective Order promptly to the Requesting Party.

68. The purpose of imposing these duties is to alert the interested persons to
the existence of this Protective Order and to afford the Designating Party in this case an
opportunity to protect its Confidential Information or Highly Confidential Information. The
Designating Party shall bear the burden and the expense of seeking protection of its
Confidential Information or Highly Confidential Information, and nothing in these provisions
should be construed as authorizing or encouraging the Receiver in this Litigation to
disobey a lawful directive from another court. The obligations set forth in this paragraph
remain in effect while the Receiver has in its possession, custody or control Confidential

Information or Highly Confidentia! Information by the other Party in this Litigation.

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69. Materials that have been designated as Confidential or Highly
Confidential Discovery Material shall not be provided or disclosed to any third party in
response to a request under any public records act, or any similar federal, state or
municipal law (collectively, the “Public Disclosure Laws”), and are exempt from disclosure
pursuant to this Protective Order. If a Party to this Litigation receives such a request, it
shall (i) provide a copy of this Protective Order to the Requesting Party and inform it that
the requested materials are exempt from disclosure and that the Party is barred by this
Protective Order from disclosing them, and (ii) promptly inform the Designating Party that
has produced the requested material that the request has been made, identifying the
name of the Requesting Party and the particular materials sought. If the Designating
Party seeks a protective order, the Receiving Party shall not disclose such material until
the Court has ruled on the request for a protective order. The restrictions in this
paragraph shall not apply to materials that (i) the Designating Party expressly consents in
writing to disclosure; or (ii) this Court has determined by court order to have been
improperly designated as Confidential or Highly Confidential Discovery Material. The
provisions of this section shall apply to any entity in receipt of Confidential or Highly
Confidential Discovery Material governed by this Protective Order. Nothing in this
Protective Order shall be deemed to (1) foreclose any Party from arguing that Discovery
Material is not a public record for purposes of the Public Disclosure Laws; (2) prevent any
Party from claiming any applicable exemption to the Public Disclosure Laws; or (3) limit
any arguments that a Party may make as to why Discovery Material is exempt from

disclosure.

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XILHIPAA-Protected Information

70. General. Discovery in this Litigation may involve production of “Protected
Health Information” as that term is defined and set forth in 45 C.F.R. § 160.103, for which
special protection from public disclosure and from any purpose other than prosecuting this
Action is warranted

71, “Protected Health Information” shall encompass information within the
scope and definition set forth in 45 C.F.R. § 160.103 that is provided to the Parties by a
covered entity as defined by 45 C.F.R. § 160.103 ("Covered Entities”) or by a business
associate of a Covered Entity as defined by 45 C.F.R. § 160.103 (“Business Associate”) in
the course of the Litigation, as well as information covered by the privacy laws of any
individual states, as applicable.

72. Any Party who produces Protected Health Information in thisLitigation
shall designate such discovery material “Confidential Protected Health Information” in
accordance with the provisions of this Protective Order.

73. Unless otherwise agreed between counsel for the Parties, the
designation of discovery material as “Confidential Protected Health Information” shall be
made at the following times: (a) for documents or things at the time of the production of
the documents or things; (b) for declarations, correspondence, expert witness reports,
written discovery responses, court filings, pleadings, and other documents, at the time of
the service or filing, whichever occurs first; (c) for testimony, at the time such testimony is
given by a statement designating the testimony as “Confidential Protected Health
Information” made on the record or within thirty (30) days after receipt of the transcript of

the deposition. The designation of discovery material as “Confidential Protected Heaith

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Information” shall be made in the following manner: (a) or documents, by placing the
notation “Confidential Protected Health Information” or similar legend on each page of
such document; (b) for tangible things, by placing the notation “Confidential Protected
Health lnformation” on the object or container thereof or if impracticable, as otherwise
agreed by the parties; (c) for declarations, correspondence, expert witness reports, written
discovery responses, court filings, pleadings, and any other documents containing
Protected Health Information, by placing the notation “Confidential Protected Health
Information” both on the face of such document and on any particular designated pages of
such document; and (d) for testimony, by orally designating such testimony as being
“Confidential Protected Health Information” at the time the testimony is given or by
designating the portions of the transcript in a letter to be served on the court reporter and
opposing counsel within thirty (30) calendar days after receipt of the certified transcript of
the deposition.

74, Pursuant to 45 C.F.R. § 164.512(e)(1), all Covered Entities and their
Business Associates (as defined in 45 C.F.R. § 160.103), or entities in receipt of
information from such entities, are hereby authorized to disclose Protected Health
information pertaining to the Action to those persons and for such purposes as designated
in herein. Further, all Parties that are entities subject to state privacy law requirements,
or entities in receipt of information from such entities, are hereby authorized to disclose
Protected Health Information pertaining to this Action to those persons and for such
purposes as designated in herein. The Court has determined that disclosure of such
Protected Health Information is necessary for the conduct of proceedings before it and
that failure to make the disclosure would be contrary to public interest or to the detriment

of one or more parties to the proceedings.

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75. The Parties shall not use or disclose Protected Health Information for any
purpose other than the Litigation, including any appeals. The Parties may, inter alia,
disclose Protected Health Information to (a) counsel for the Parties and employees of
counsel who have responsibility for the Litigation; (b) the Court and its personnel, (c) Court
reporters; (d) experts and consultants; and (e) other entities or persons involved in the
Litigation.

76. Within sixty days after dismissal or entry of final judgment not subject to
further appeal, the Parties, their counsel, and any person or entity in possession of
Protected Health Information received pursuant to this Order shall destroy or return to the
Covered Entity or Business Associate such Protected Health Information.

77. Nothing in this Order authorizes the parties to obtain Protected Health
Information through means other than formal discovery requests, subpoenas, depositions,
pursuant to a patient authorization, or any other lawful process.

Xill. Information Subject to Existing Obligation of Confidentiality Independent of
this Protective Order.

78. In the event that a Party is required by a valid discovery request to
produce any information held by it subject to an obligation of confidentiality in favor of a
third party, the Party shall, promptly upon recognizing that such third party's rights are
implicated, provide the third party with a copy of this Protective Order and (i) inform the
third party in writing of the Party's obligation to produce such information in connection
with this Litigation and of its intention to do so, subject to the protections of this Protective
Order; (ii) inform the third party in writing of the third party's right within fourteen (14) days
to seek further protection or other relief from the Court if, in good faith, it believes such

information to be confidential under the said obligation and either objects to the Party's

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production of such information or regards the provisions of this Protective Order to be
inadequate; and (iii) seek the third party's consent to such disclosure if that third party
does not plan to object. Thereafter, the Party shall refrain from producing such
information for a period of fourteen (14) days in order to permit the third party an
opportunity to seek relief from the Court, unless the third party earlier consents to
disclosure. If the third party fails to seek such relief, the Party shall promptly produce the
information in question subject to the protections of this Protective Order, or alternatively,
shall promptly seek to be relieved of this obligation or for clarification of this obligation by
the Court.

XIV. Miscellaneous Provisions

79. Nothing in this Order or any action or agreement of a party under this
Order limits the Court’s power to make any orders that may be appropriate with respect to
the use and disclosure of any documents produced or use in discovery or at trial.

80. Nothing in this Protective Order shall abridge the right of any person to
seek judicial review or to pursue other appropriate judicial action to seek a modification or
amendment of this Protective Order.

81. In the event anyone shall violate or threaten to violate the terms of this
Protective Order, the Producing Party may immediately apply to obtain injunctive relief
against any person violating or threatening to violate any of the terms of this Protective
Order, and in the event the Producing Party shall do so, the respondent person, subject to
the provisions of this Protective Order, shall not employ as a defense thereto the claim
that the Producing Party possesses an adequate remedy at law.

82. This Protective Order shall not be construed as waiving any right to

assert a claim of privilege, relevance, or other grounds for not producing Discovery

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Material called for, and access to such Discovery Material shall be only as provided for by
separate agreement of the Parties or by the Court.

83. This Protective Order may be amended without leave of the Court by
agreement of Outside Counsel for the Parties in the form of a written stipulation filed with
the Court. The Protective Order shall continue in force until amended or superseded by
express order of the Court, and shall survive and remain in effect after the termination of
this Litigation.

84. Notwithstanding any other provision in the Order, nothing inthis
Protective Order shall affect or modify Defendants’ ability to review Plaintiffs’ information
and report such information to any applicable regulatory agencies.

85. This Order is entered based on the representations and agreements of
the parties and for the purpose of facilitating discovery. Nothing herein shall be construed
or presented as a judicial determination that any documents or information designated as
Confidential or Highly Confidential by counsel or the parties is subject to protection under
Rule 26(c) of the Federal Rules of Civil Procedure or otherwise until such time as the

Court may rule on a specific document or issue.

 

 

IT'S SO ORDERED.
Dated: 9/15/18 {s/Dan Aaron Polster
Honorable Dan Aaron Polster
United States District Judge

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IN THE UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF OHIO
EASTERN DIVISION

 

IN RE: NATIONAL PRESCRIPTION

OPIATE LITIGATION Case No.: 1:17-md-2804-DAP

This document relates to: Honorable Dan Aaron Polster

All Cases

 

 

EXHIBIT A TO CASE MANAGEMENT ORDER NO.

ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND BY PROTECTIVE ORDER

The undersigned agrees:

| declare under penalty of perjury that | have read in its entirety and understand the
Protective Order (CMO No. __) that was issued by the United States District Court for the
Northern District of Ohio on , 2018 in In re: National Prescription Opiate
Litigation (the “Protective Order’).

| agree to comply with and to be bound by all the terms of the Protective Order, and
| understand and acknowledge that failure to so comply could expose me to sanctions and
punishment in the nature of contempt. | solemnly promise that | will not disclose in any
manner any information or item that is subject to the Protective Order to any person or
entity except in strict compliance with the provisions of the Protective Order.

| further agree to submit to the jurisdiction of the United States District Court for the
Northern District of Ohio for the purposes of enforcing terms of the Protective Order, even

if such enforcement proceedings occur after termination of these proceedings.
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Date:

 

 

City and State where sworn and signed:

Printed Name:

 

Signature:
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RESPECTFULLY SUBMITTED,

Dated: September 29, 2019

 

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO

EASTERN DIVISION
IN RE NATIONAL PRESCRIPTION _) CASE NO. 17-MD-2804
OPIATE LITIGATION )
) SPECIAL MASTER COHEN
This document relates to: )
All Cases )
) AMENDMENTS TO CMO NO. 2
) RE: CONFIDENTIALITY AND
) PROTECTIVE ORDER

The parties have agreed to make certain amendments to various paragraphs contained in the
Court’s Case Management Order No. 2 (docket no. 441) which address confidentiality and
Protective Order issues. The parties submitted other proposed amendments upon which they could
not agree. The Special Master now adopts the parties’ agreed-upon revisions and also resolves the

parties’ disagreements, and amends CMO-2 accordingly, as set out in the attached document.

/s/ David R. Cohen
David R. Cohen
Special Master

 
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AMENDMENTS TO CONFIDENTIALITY & PROTECTIVE ORDER PROVISIONS
OF CMO NO. 2 (docket no. 441)

6. This Protective Order does not confer blanket protection on all disclosures or responses to
discovery and the protection it affords extends only to the specific information or items that are
entitled to protection under the applicable Iegal principles for treatment as confidential. Parties
shall not be overly broad in designating materials as Confidential or Highly Confidential under
this Protective Order. If a Party is repetitively, overly broad in designating materials as
Confidential or Highly Confidential, that Party risks having large categories of such designations
denied protection. The Court expects and will assume that the attorney submitting the designation
has reviewed it and does so subject to Rule 11.

10. Confidential Information. “Confidential Information” is defined herein as information that
the Producing Party in good faith believes would be entitled to protection on a motion for a
protective order pursuant to Fed. R. Civ. P. 26(c) on the basis that it constitutes, reflects, discloses,
or contains information protected from disclosure by statute, or that should be protected from
disclosure as confidential personal information, medical or psychiatric information, personnel
records, Confidential Protected Information, protected law enforcement materials (including
investigative files, overdoes records, Narcan records, coroner’s records, court records, and
prosecution files), research, technical, commercial or financial information that the Designating
Party has maintained as confidential, or such other proprietary or sensitive business and
commercial information that is not publicly available. Public records and other information or
documents that are publicly available may not be designated as Confidential Information. In
designating discovery materials as Confidential Information, the Producing Party shall do so only
after review of the documents or information by an attorney who has, in good faith, determined
that the material would be entitled to protection on a motion for a protective order pursuant to Fed.
R. Civ. P. 26(c), that the material is not otherwise publicly available, and that the material is not
“stale” or old to a point where it is not entitled to protection consistent with the provisions of this
Protective Order and rulings of the Special Master and the Court. Nothing herein shall be
construed to allow for global designations of all documents as “Confidential.”

11. Highly Confidential Information. “Highly Confidential Information” is defined herein as
information which, if disclosed, disseminated, or used by or to a Competitor of the Producing Party
or any other person not enumerated in Paragraphs 32 and 33, could reasonably result in possible
antitrust violations or commercial, financial, or business harm. In designating discovery materials
as Highly Confidential Information, the Producing Party shall do so only after review of the
documents or information by an attorney who has, in good faith, determined that the material
would be entitled to protection on a motion for a protective order pursuant to Fed. R. Civ. P. 26(c),
that the Producing Party has made reasonable efforts to keep the material confidential, that the
material is not otherwise publicly available, and that the material is not “stale” or old to a point
where it is not entitled to protection consistent with the provisions of this Protective Order and
rulings of the Special Master and the Court. Nothing herein shall be construed to allow for global
designations of all documents as “Highly Confidential.”
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25. Information disclosed through testimony at a deposition taken in connection with this
Litigation may be designated as Confidential Information or Highly Confidential Information by
designating the portions of the transcript in a letter to be served on the court reporter and opposing
counsel within thirty (30) calendar days of the Preducing Party’s receipt of the certified transcript
of a deposition. The court reporter will indicate the portions designated as Confidential or Highly
Confidential and segregate them as appropriate. Designations of transcripts will apply to audio,
video, or other recordings of the testimony. The court reporter shall clearly mark any transcript
released prior to the expiration of the 30-day period as “HIGHLY CONFIDENTIAL-SUBJECT
TO FURTHER CONFIDENTIALITY REVIEW.” Such transcripts will be treated as Highly
Confidential Information until the expiration of the 30-day period. If the Producing Party does not
serve a designation letter within the 30-day period, then the entire transcript will be deemed not to
contain Confidential Information or Highly Confidential Information and the “HIGHLY
CONFIDENTIAL-SUBJECT TO FURTHER CONFIDENTIALITY REVIEW” legend shall be
removed. Any Confidential or Highly Confidential designations of deposition testimony by a party
shall occur only if an attorney for that party has, in good faith, determined that the material is
entitled to protection on a motion for a protective order pursuant to Fed. R. Civ. P. 26(c), that the
Producing Party has made reasonable efforts to keep the material confidential, that the material is
not otherwise publicly available, and that the material is not “stale” or old to a point where it is not
entitled to protection consistent with the provisions of this Protective Order and the rulings of the
Special Master and the Court. The Designating Party shall make page and line designations of
deposition testimony; global designation of deposition testimony as Confidential or Highly
Confidential is not permitted.

26. In accordance with this Protective Order, only the persons identified under Paragraphs 33
and 34 below, along with the witness and the witness’s counsel, may be present if any questions
regarding Confidential Information or Highly Confidential Information are asked. This paragraph
shall not be deemed to authorize disclosure of any document or information to any person to whom
disclosure is prohibited under this Protective Order.

27. A Party in this Litigation may designate as “Confidential” or “Highly Confidential” any
document, material, or other information produced by, or testimony given by, any other person or
entity that the designating Party reasonably believes qualifies as the designating Party’s
Confidential Information or Highly Confidential Information pursuant to this Protective Order.
Any such designation may only be made after an attorney for the Designating Party has, in good
faith, determined that the material would be entitled to protection on a motion for a protective
order pursuant to Fed. R. Civ. P. 26(c), that the Producing Party has made reasonable efforts to
keep the material confidential, that the material is not otherwise publicly available, and that the
material is not “stale” or old to a point where it is not entitled to protection consistent with the
provisions of this Protective Order and rulings of the Special Master and the Court. The Party
claiming confidentiality shall designate the information as such within thirty (30) days of its receipt
of such information. Any Party receiving information from a third party shall treat such
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information as Highly Confidential during this thirty (30) day period while all Parties have an
opportunity to review the information and determine whether it should be designated as
confidential. Any Party designating third party information as Confidential Information or Highly
Confidential Information shall have the same duties and rights as a Producing Party under this
Protective Order with respect to such information.

28. — This Protective Order shall not be construed to protect from production any document, or
to permit the “Confidential Information” or “Highly Confidential Information” designation of any
document, that (a) the party has not made reasonable efforts to keep confidential, or (b) is at the
time of production or disclosure, or subsequently becomes, through no wrongful act on the part of
the Receiving Party or the individual or individuals who caused the information to become public,
generally available to the public through publication or otherwise.

29. In order to protect against unauthorized disclosure of Confidential Information and Highly
Confidential Information, a Producing Party may redact certain Confidential or Highly
Confidential Information from produced documents, materials or other things. The basis for any
such redaction shall be stated in the Redaction field of the document and/or in the metadata
produced pursuant to the Document Production Protocol or, in the event that such metadata is not
technologically feasible, a log of the redactions. Specifically, the Producing Party may redact or
de-identify:

(i) Personal Identifying Information. The names, home addresses, personal email
addresses, home telephone numbers, Social Security or tax identification numbers, and other
private information protected by law of (a) current and former employees (other than employees’
names and business contact information), (b) individuals in clinical studies or adverse event reports
whose identity is protected by law, (c) undercover law enforcement personnel and confidential
informants, and (d) patient identified information that is protected by 42 CFR 2.12 and associated
regulations consistent with the Order Governing Production of Medical and Pharmacy Claims Data
in Track One Cases [Dkt. 1421].

(ii) Privileged Information. Information protected from disclosure by the attorney-
client privilege, work-product doctrine, or other such legal privilege protecting information from
discovery in this Litigation. The obligation to provide, and form of, privilege logs will be
addressed by separate Order.

(iii) | Third Party Confidential Information. If agreed to by the Parties or ordered by the
Court under Paragraph 78, information that is protected pursuant to confidentiality agreements
between Designating Parties and third parties, as long as the agreements require Designating
Parties to redact such information in order to produce documents in litigation.

Plaintiffs may withhold or redact the following specific protected information: (a) records of
ongoing criminal investigations, and (b) records or information provided to the party by DEA,
FBI, or other state or federal law enforcement agency that such agency designates is of a sensitive
nature. The fact of redacting or withholding does not create a presumption that the redaction or
withholding is valid, and Receiving Parties can challenge redactions freely after providing
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appropriate notice to the Producing Party and (if applicable) the agency asserting the privilege or
confidentiality redaction.

33. Inthe absence of written permission from the Producing Party or an order of the Court, any
Confidential Information produced in accordance with the provisions of this Protective Order shall
be uscd solely for purposes of this Litigation (except as provided by Paragraph 33.L) and its
contents shall not be disclosed to any person unless that person falls within at least one of the
following categories:

a. Outside Counsel and In-House Counsel, and the attorneys, paralegals,
stenographic, and clerical staff employed by such counsel;
b. Vendor agents retained by the parties or counsel for the parties, provided that the

vendor agrees to be bound by this Protective Order and completes the certification
contained in Exhibit A, Acknowledgment and Agreement to Be Bound;

c. Individual Parties;

d. Present or former officers, directors, and employees of a Party, provided that former
officers, directors, or employees of the Designating Party may be shown documents
prepared after the date of his or her departure only to the extent counsel for the
Receiving Party determines in good faith that the employee’s assistance is
reasonably necessary to the conduct of this Litigation and provided that such
persons have completed the certification contained in Exhibit A, Acknowledgment
and Agreement to Be Bound. Nothing in this paragraph shall be deemed to permit
the showing of one defendant's Confidential Information to an officer, director, or
employee of another defendant, except to the extent otherwise authorized by this
Order;

e. Stenographic employees and court reporters recording or transcribing testimony in
this Litigation;

f. The Court, any Special Master appointed by the Court, and any members of their
staffs to whom it is necessary to disclose the information;

g. Formally retained independent experts and/or consultants, provided that the
recipient agrees to be bound by this Protective Order and completes the certification
contained in Exhibit A, Acknowledgment and Agreement to Be Bound;

h. Any individual(s) who authored, prepared, or previously reviewed or received the
information;

i. To the extent contemplated by Case Management Order One, dated April 11, 2018
(Dkt. No. 232), those liability insurance companies from which any Defendant has
sought or may seek insurance coverage to (i) provide or reimburse for the defense
of the Litigation and/or (ii) satisfy all or part of any liability in the Litigation.

j. State or federal law enforcement agencies, but only after such persons have
completed the certification contained in Exhibit A, Acknowledgment and
Agreement to Be Bound. Disclosure pursuant to this subparagraph will be made
only after the Designating Party has been given ten (10) days’ notice of the
Receiving Party’s intent to disclose, and a description of the materials the Receiving
Party intends to disclose. If the Designating Party objects to disclosure, the
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Designating Party may request a meet and confer and may seek a protective order
from the Court.

k. Plaintiff’s counsel of record to any Plaintiff with a case pending in MDL 2804 shall
be permitted to receive the Confidential Information of any Producing Party
regardless of whether that attomey is counsel of record in any individual action
against the Producing Party and there shall be no need for such counsel te execute
such acknowledgment because such counsel is bound by the terms of this Protective
Order;

1. Counsel for claimants in litigation pending outside this Litigation and arising from
one or more Defendants’ manufacture, marketing, sale, distribution, or dispensing
of opioid products for use in this or such other action in which the Producing Party
is a Defendant in that litigation, provided that the proposed recipient agrees to be
bound by this Protective Order and completed the certification contained in Exhibit
A, Acknowledgment and Agreement to Be Bound. Plaintiffs’ Liaison Counsel
shall disclose to all Defendants at the end of each month a cumulative list providing
the identity of the counsel who have executed such acknowledgments and will
receive Confidential and Highly Confidential Information pursuant to this Order
and a list of the case name(s), number(s), and jurisdiction(s) in which that counsel
represents other claimants. Neither the receipt of information pursuant to this
paragraph nor the provision of the certification shall in any way be deemed a
submission, by the claimant represented by counsel in such outside litigation, to the
jurisdiction of this Court or any other federal court or a waiver of any jurisdictional
arguments available to such claimant; provided, however, that any such recipient
of documents or information produced under this Order shall submit to the
jurisdiction of this Court for any violations of this Order; or

m. Witnesses during deposition, who may be shown, but shall not be permitted to
retain, Confidential Information; provided, however, that, unless otherwise agreed
by the relevant Parties or ordered by the Court, no Confidential Information of one
defendant may be shown to any witness who is a current employee of another
defendant who is not otherwise authorized to receive the information under this
Order.

34. Inthe absence of written permission from the Producing Party or an order of the Court, any
Highly Confidential Information produced in accordance with the provisions of this Protective
Order shall be used solely for purposes of this Litigation (except as provided by Paragraph 34.})
and its contents shall not be disclosed to any person unless that person falls within at least one of
the following categories:

a. Outside Counsel and In-House Counsel, and the attorneys, paralegals,
stenographic, and clerical staff employed by such counsel. Information designated
as Highly Confidential by any Defendant may be disclosed to In-House Counsel of
another Defendant, provided that the In-House Counsel (i) has regular involvement
in the Litigation (ii) disclosure to the individual is reasonably necessary to this
Litigation, and (iii) the individual completes the certification contained in Exhibit
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A, Acknowledgment and Agreement to Be Bound. Except as otherwise provided
in this Order or any other Order in this Litigation, no other Employees of a
Defendant may receive the Highly Confidential Information of another. Any
information designated as Highly Confidential shall be disclosed to an In-House
Counsel for any Plaintiff only to the extent Outside Counsel for that Plaintiff
determines in goed faith that disclosure to the In-House Counsel is reasonably
necessary to the Litigation;

b. Vendor agents retained by the parties or counsel for the parties, provided that the
vendor agrees to be bound by this Protective Order and completes the certification
contained in Exhibit A, Acknowledgment and Agreement to Be Bound;

c. Individual Parties that have produced the designated information;
d. Stenographic employees and court reporters recording or transcribing testimony in
this Litigation;

e. The Court, any Special Master appointed by the Court, and any members of their
staffs to whom it is necessary to disclose the information;

f. Formally retained independent experts and/or consultants, provided that the
recipient agrees to be bound by this Protective Order and completes the certification
contained in Exhibit A, Acknowledgment and Agreement to Be Bound;

g. Any individual(s) who authored, prepared, or previously reviewed or received the
information;

h. State or federal law enforcement agencies, but only after such persons have
completed the certification contained in Exhibit A, Acknowledgment and
Agreement to Be Bound. Disclosure pursuant to this subparagraph will be made
only after the Designating Party has been given ten (10) days’ notice of the
Receiving Party’s intent to disclose, and a description of the materials the Receiving
Party intends to disclose. If the Designating Party objects to disclosure, the
Designating Party may request a meet and confer and may seek a protective order
from the Court.

i. Plaintiff's counsel of record to any Plaintiff with a case pending in MDL 2804 shall
be permitted to receive the Confidential Information of any Producing Party
regardless of whether that attorney is counsel of record in any individual action
against the Producing Party and there shall be no need for such counsel to execute
such acknowledgment because such counsel is bound by the terms of this Protective
Order;

j. Counsel for claimants in litigation pending outside this Litigation and arising from
one or more Defendants’ manufacture, marketing, sale, distribution, or dispensing
of opioid products for use in this or such other action in which the Producing Party
is a Defendant in that litigation, provided that the proposed recipient agrees to be
bound by this Protective Order and completed the certification contained in Exhibit
A, Acknowledgment and Agreement to Be Bound. Plaintiffs’ Liaison Counsel
shall disclose to all Defendants at the end of each month a cumulative list providing
the identity of the counsel who have executed such acknowledgments and will
receive Confidential and Highly Confidential Information pursuant to this Order
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and a list of the case name(s), number(s), and jurisdiction(s) in which that counsel
represents other claimants. Neither the receipt of information pursuant to this
paragraph nor the provision of the certification shall in any way be deemed a
submission, by the claimant represented by counsel in such outside litigation, to the
jurisdiction of this Court or any other federal court or a waiver of any jurisdictional
arguments available to such claimant, provided, however, that any such recipient
of documents or information produced under this Order shall submit to the
jurisdiction of this Court for any violations of this Order; or

k. Witnesses during deposition, who may be shown, but shall not be permitted to
retain, Confidential Information; provided, however, that, unless otherwise agreed
by the relevant Parties or ordered by the Court, no Confidential Information of one
defendant may be shown to any witness who is a current employee of another
defendant who is not otherwise authorized to receive the information under this
Order.

46. To the extent that a Producing Party uses or discloses to a third party its designated
confidential information in a manner that causes the information to lose its confidential status, the
Receiving Party is entitled to notice of the Producing Party’s use of the confidential information
in such a manner that the information has lost its confidentiality, and the Receiving Party may also
use the information in the same manner as the Producing Party. To the extent that a Producing
Party’s Confidential or Highly Confidential Information becomes part of the public record in this
proceeding, through no wrongful act on the part of the Receiving Party or the individual or
individuals who caused the information to become public through the Court record, the specific
testimony, document excerpts, or other evidence will become and remain public. However, a
Receiving Party shall not unnecessarily attempt to insert materials designated as Confidential or
Highly Confidential into the Court record solely for purposes of making them public. Once
information is made public, it is not confidential even if continued to be marked as such by the
Producing Party, and the Receiving Party may freely use such information. A Receiving Party
does not need to challenge Confidential or Highly Confidential designations of specific testimony,
documents, or other evidence excerpts that become part of the public record in this proceeding. A
Receiving Party can also challenge a designation for other testimony or portions of the excerpted
document or other evidence as set forth in paragraph 52 below.

52. A Receiving Party does not waive its right to challenge a confidentiality designation by
electing not to mount a challenge promptly after the original designation is disclosed. If the
Receiving Party believes that portion(s) of a document or deposition are not properly designated
as Confidential Information or Highly Confidential Information, the Receiving Party will identify
the specific information that it believes is improperly designated and notify the Producing Party,
in writing, of its reasons why the confidentiality designation was not proper and must: (a) give the
Producing Party an opportunity to review the designated material, to reconsider the circumstances,
and, if no change in designation is offered, to explain, in writing within seven (7) days, the basis
of the chosen designation, and (b) offer to provide the Producing Party with multiple alternatives
(dates and times) to meet and confer during the seven (7) day period following the date of the
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Receiving Party’s written challenge notification. Thereafter, if a Receiving Party elects to press a
challenge to a confidentiality designation after considering the justification offered by the
Producing Party, it shall notify the Producing Party, and the Receiving Party shall have seven (7)
days from such notification to challenge the designation with the Court or Special Master. These
time periods may be modified in emergent circumstances, as agreed to by the Challenging and
Designating Parties, or as erdered by the Special Master or the Court. The ultimate burden of
persuasion in any such challenge proceeding shall be on the Producing Party as if the Producing
Party were seeking a Protective Order pursuant to Fed. R. Civ. P. 26(c) in the first instance. Until
the Court rules on the challenge, all Parties shall continue to afford the material in question the
level of protection to which it is entitled under the Producing Party’s designation. In the event that
a designation is changed by the Producing Party or by Court Order, the Producing Party shall
provide replacement media, images, and associated production information as provided above.
The parties are hereby notified that Discovery Ruling No. 20 Regarding Confidentiality
Designations (Doc. 1650), as well as the “ARCOS Ruling” by the Sixth Circuit Court of Appeals
(docket no. 1710), provide relevant legal standards, principles, and examples which should be
followed and/or used as guidance relative to disputes over materials designated as Confidential or
Highly Confidential at the discovery stage of the litigation.
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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO

EASTERN DIVISION

IN RE NATIONAL PRESCRIPTION _) CASE NO. 17-MD-2804
OPIATE LITIGATION )

) SPECIAL MASTER COHEN
This document relates to: )
All Cases )

) AMENDMENT TO CMO NO. 2

) RE: INADVERENT PRODUCTION

The parties have agreed to make certain amendments to “Section IX. Inadvertent Production
of Documents,” contained in the Court’s Case Management Order No. 2 (docket no. 441). The
Court approves these amendments, which are set out in the attached document.

RESPECTFULLY SUBMITTED,

/s/ David R. Cohe
David R. Cohen
Special Master

Dated: September 29, 2019

 

 
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REPLACING SECTION IX OF CMO NO. 2 (docket no. 441)
LX. Inadvertent Production of Documents

53. | Non-Waiver of Privilege. The parties agree that they do not intend to disclose
information subject to a claim of attorney-client privilege, attomey work product protection,
common-interest privilege, or any other privilege, immunity or protection from production or
disclosure (“Privileged Information “). If, nevertheless, a Producing Party discloses Privileged
Information, such disclosure (as distinct from use) shall be deemed inadvertent without need of
further showing under Federal Rule of Evidence 502(b) and, pursuant to Federal Rule of Evidence
502(d), shall not constitute or be deemed a waiver or forfeiture of the privilege or protection from
discovery in this case or in any other federal or state proceeding by that party (the “Disclosing
Party”). This Section shall be interpreted to provide the maximum protection allowed by Federal
Rule of Evidence 502(b) and 502(d).

54. Notice of Production of Privileged Information.

a. Notice by Designating Party. If a Party or non-Party discovers that it has produced
Privileged Information, it shall promptly notify the Receiving Party of the production in writing,
shall identify the produced Privileged Information by Bates range where possible, shall identify
the type of privilege claimed, and may demand that the Receiving Party return or destroy the
Privileged Information.

b. Notice by Receiving Party. In the event that a Receiving Party receives information
that it believes is subject to a good faith claim of privilege by the Designating Party, the Receiving
Party shall immediately refrain from examining the information and shall promptly notify the
Designating Party in writing that the Receiving Party possesses potentially Privileged Information.
The Designating Party shall have seven (7) days to assert privilege over the identified information.
If the Designating Party does not assert a claim of privilege within the 7-day period, the
information in question shall be deemed non-privileged.

55. Recall of Privileged Information. If the Designating Party has notified the
Receiving Party of production, or has confirmed the production called to its attention by the
Receiving Party, the Receiving Party shall within fourteen (14) days of receiving such notification
or confirmation: (1) destroy or return to the Designating Party all copies or versions of the
produced Privileged Information requested to be returned or destroyed; (2) delete from its work
product or other materials any quoted or paraphrased portions of the produced Privileged
Information; and (3) ensure that produced Privileged Information is not disclosed in any manner
to any Party or non-Party. The following procedures shall be followed to ensure all copies of such
ESI are appropriately removed from the Receiving Party’s system:

i. Locate each recalled document in the document review/production database and
delete the record from the database;

ii. If there is a native file link to the recalled document, remove the native file from
the network path;
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ili. If the database has an image load file, locate the document image(s) loaded into the
viewing software and delete the image file(s) corresponding to the recalled
documents. Remove the line(s) corresponding to the document image(s) from the
image load file;

Iv. Apply the same process to any additional copies of the document or database where
possible;
v. Locate and destroy all other copies of the document, whether in electronic or

hardcopy form. To the extent that copies of the document are contained on write-
protected media, such as CDs or DVDs, these media shall be discarded, with the
exception of production media received from the recalling party, which shall be
treated as described herein;

vi. If the document was produced in a write-protected format, the party seeking to
recall the document shall, at its election, either (i) provide a replacement copy of
the relevant production from which the document has been removed, in which case
the receiving party shall discard the original production media; or (ii) allow the
receiving party to retain the original production media, in which case the receiving
party shall take steps to ensure that the recalled document will not be used; and

vii. | Confirm that the recall of ES] under this procedure is complete by way of letter to
the party seeking to recall ESI.

56. Notwithstanding the above, the Receiving Party may segregate and retain one copy
of the clawed back information solely for the purpose of disputing the claim of privilege. The
Receiving Party shall not use any produced Privileged Information in connection with this
Litigation or for any other purpose other than to dispute the claim of privilege. The Receiving
Party may file a motion disputing the claim of privilege and seeking an order compelling
production of the material at issue; the Designating Party may oppose any such motion, including
on the grounds that inadvertent disclosure does not waive privilege.

57. | Within 14 days of the notification that such Privileged Information has been
returned, destroyed, sequestered, or deleted (“Clawed-Back Information”), the Disclosing Party
shall produce a privilege log with respect to the Clawed-Back Information.

58. If, for any reason, the Designating Party and Receiving Party (or parties) do not
resolve their disagreement after conducting the mandatory meet and confer, the Receiving Party
may request a conference with the Special Master pursuant to the procedures set forth in Case
Management Order One and established by the Special Master. The Designating Party bears the
burden of establishing the privileged or protected nature of any Privileged Information. For
circumstances where the Parties are unable to reach an agreement, the procedure for submission
to the Special Master is as follows:

i. Receiving Party shall file its Motion to Compel and request for in camera
submission to the Special Master with carbon copy to include only counsel for
Receiving Party and Designating Party;
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ii. Designating Party shall file its opposition on a schedule agreed to by the
Designating and Receiving Parties or as set by the Special Master, with carbon copy
to Receiving Party’s counsel;

iii. | The Receiving Party shall file its reply (if any) on a schedule agreed to by the
Designating and Receiving Parties or as set by the Special Master, with carbon copy
to include only counsel for the Receiving Party and the Designating Party;

iv. If necessary, a hearing shall be conducted just between the Designating Party, the
Receiving Party, and the Special Master.

59. Nothing contained herein is intended to or shall serve to limit a party’s right to
conduct a review of documents, ESI or information (including metadata) for relevance,
responsiveness and/or segregation of privileged and/or protected information before production.
Nothing in this Order shall limit the right to request an in-camera review of any Privileged
Information.

60. [REMOVED BY AGREEMENT OF THE PARTIES]

61. Nothing in this Order overrides an attomey’s ethical responsibilities to refrain from
examining or disclosing materials that the attorney knows or reasonably should know to be
privileged and to inform the other Party that such materials have been produced.
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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO

 

EASTERN DIVISION
I
IN RE: NATIONAL PRESCRIPTION OPIATE MDL No. 2804

LITIGATION
Case No. 17-md-2804

This document relates to:
Special Master David Cohen

“Track Two Cases”

 

PROTECTIVE ORDER REGARDING DISCLOSURE
BY PLAINTIFFS O FIDENTIAL M L RECORDS

WHEREAS, Distributor Defendants’ served discovery upon the Track Two bellwether
Plaintiffs which potentially requires the disclosure of protected health information governed by
the Health Insurance Portability and Accountability Act of 1996 (hereinafter referred to as
“HIPAA”); R.K. v. St. Mary's Med. Ctr., Inc., 229 W. Va. 712, 735 S.E.2d 715 (2012); and

WHEREAS, this Court has addressed procedural safeguards to such disclosure throughout
this litigation. See e.g., Case Management Order No. 2: Protective Order (Doc #: 441) (Doc #:
1357); Track One Discovery Order Regarding Health-Related Information (Doc #: 703);
Discovery Ruling No. 7 (Doc #: 1051); November 21, 2018 Order (Doc #: 1147), Order Governing
Production of Medical and Pharmacy Claims Data in Track One Cases (Doc #: 1421); Order
Governing Production of Non-Party OptumRx, Inc.'s Pharmacy Claims Data for Track One Cases
(Doc #: 1635); Order Governing Production Of Non-Party Humana Health Plan of Ohio, Inc.'s

Medical And Pharmacy Claims Data For Track One Cases (Doc #: 1641); Amendment to CMO

 

' The Distributor Defendants are AmerisourceBergen Drug Corporation, Cardinal Health, Inc.
and McKesson Corporation.
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No. 2 Re. Confidentiality and Protective Order (Doc # 2688); Amendment to CMO No. 2 Re:

Inadverent Production (Doc #: 2687); Agreed Order Governing Privilege (Doc #: 2882); and

WHEREAS, the bellwether Plaintiffs desire to efficiently advance this litigation while

preserving the privacy rights of the general public; and

WHEREAS, federal law provides this Court with the authority to compel the disclosure of

protected health information while providing adequate safeguards; and

WHEREAS, the Plaintiffs and Distributor Defendants agree to the provisions below; now

therefore

IT IS HEREBY ORDERED that the following provisions shall govern the production of

protected health information in the Track Two Cases:

1. Findings. The Court hereby makes the following findings with respect to

the production of protected health information:

a. Good cause exists for the entry of this Order.

b. Alternative methods of obtaining this information are not available or
would not be effective.

c. The public interest and the need for disclosure of this information, subject
to the restrictions set forth herein, outweigh the potential injury to the patient, the
physician-patient relationship, and the treatment services.

d. The bellwether Plaintiffs shall produce relevant protected health
information not implicated by Title 42, Part 2 of the Code of Federal Regulations

("Part 2"), without redaction.
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e. Only those individuals who require the information for purposes of
this litigation (as described below) may receive protected health information produced
pursuant to this Order.

f. The procedures set forth herein are necessary to limit disclosure for
the protection of the patient, the physician-patient relationship, and the

treatment services.

3. Designation. Protected health information produced pursuant to this Order shall
be produced with the following legend appearing in either the title of the electronic file or on the
face of the document: "HIPAA PROTECTED HEALTH INFORMATION - ACCESS

RESTRICTED TO ATTORNEYS AND EXPERTS."

4, Restrictions on Disclosure. All parties shall safeguard and maintain the
confidentiality of this information pursuant to the terms of the HIPAA protective order (seedocket
no. 441, CMO-2 at 32-34), and shall limit disclosure to attorneys and experts for the parties, unless
otherwise ordered by the Court. Specifically, no person shall, without leave of Court, use any
material produced pursuant to this Ruling in connection with any formal or informal third-party
discovery of individuals or entities revealed, including but not limited to: (i) requests to or about
individuals whose records are produced; and (ii) requests to health care providers or administrators
concerning the treatment of individuals described therein. In sum, no person shall contact or
attempt to contact any individual identified in the medical records, or their family members or
medical providers or other related staff, for the purpose of obtaining additional information related
to this case, without leave of Court. Nothing in this order shall prohibit a party from conducting

otherwise-allowed discovery from or relating to a person as to whom HIPAA-protected data has
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been produced based on other information obtained, either in discovery or otherwise, conceming

that person.

All protected health information produced pursuant to this Order shall be disclosed only
to: (i) Outside Counsel for the parties in this action; (ii) in-house counsel for Defendants in this
action with responsibility for overseeing this litigation; (iii) consulting and testifying experts
retained specifically to provide services in this action; and (iv) court personnel and staff, including
the Special Masters appointed in this action and their assistants. No other individuals shall be
permitted to access protected health information, and all parties shall institute reasonable and

appropriate steps to prevent against unauthorized disclosure.

5. Breach Notification. In the event that any Party learns of the unauthorized
disclosure of protected health information subject to this Order, such Party shall provide prompt
notification of the breach to counsel for each of the Track Two Plaintiffs, such notice to include:
(1) the date of the breach; (2) the circumstances of the breach; (3) the identity or identities

of the unauthorized recipients; and (4) all steps taken or planned to remedy the breach.

6. Limitations on Use. All protected health information produced pursuant to this
Order has been produced solely for purposes of this litigation, and shall only be used for purposes

of this litigation.
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7. Restrictions on Third-Party Discovery. All prior restrictions on the use of
protected health information in connection with third party discovery remain in effect, including
the limitations on third party discovery set forth in Discovery Ruling No. 7, as clarified by the

Special Master.

Entered this the 13th day of December, 2019.

/s/David R. Cohen
Special Master
